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                                 IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF UTAH

    JANE DOE, by LINDA SMITH, as her                           MEMORANDUM DECISION AND
    personal representative,                                   ORDER DENYING PLAINTIFF’S
                                                             MOTION FOR SUMMARY JUDGMENT
               Plaintiff,                                     ON COUNTS ONE THROUGH FOUR
    v.
                                                                   Case No. 2:18-cv-807-RJS-JCB
    INTERMOUNTAIN HEALTHCARE, INC.
    and SELECTHEALTH, INC.,                                     Chief District Judge Robert J. Shelby

               Defendants.                                       Magistrate Judge Jared C. Bennett


              Plaintiff Linda Smith, as personal representative of Jane Doe, 1 brings this action under

the Employee Retirement Income Security Act of 1974 (ERISA). 2 Plaintiff filed both individual

and class action claims alleging Defendants Intermountain Healthcare, Inc. (IHC) and

SelectHealth, Inc. violated ERISA and the Mental Health Parity and Addiction Equity Act

(Parity Act) in denying residential mental health benefits to Doe. 3 Before the court is Plaintiff’s

Motion for Summary Judgment on Counts One Through Four (the individual claims). 4 For the

reasons stated below, the Motion is DENIED.

                                               BACKGROUND

              Through her employer, Doe was a participant in an ERISA benefits plan (the Plan) from

at least December 30, 2016 to July 31, 2018. 5 IHC sponsored the Plan and SelectHealth acted as




1
 Smith brings this action on behalf of Doe who sadly passed during the pendency of this action. Dkt. 64
[SEALED].
2
    Dkt. 153, Third Amended Complaint (TAC) ¶¶ 127–45.
3
    See id.
4
    Dkt. 192, MSJ.
5
    Dkt. 181, Answer ¶¶ 3, 46.


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the claims review fiduciary. 6 Before turning to the legal issues, the court reviews the relevant

Plan language, Doe’s medical and treatment history, and the procedural history of this case.

                                                 I.   The Plan

           The Plan covers treatment for both medical/surgical care and mental health services. 7 To

qualify for benefits, services must be “medically necessary.” 8 Under the Plan, “Medical

Necessity is determined by SelectHealth’s Medical Director or another Physician designated by

SelectHealth.” 9 SelectHealth has “sole discretionary authority” to interpret Plan terms such as

medical necessity and determine the availability of benefits under the Plan. 10 SelectHealth has

developed additional medical policies “to serve as guidelines for coverage decisions.” 11 These

policies detail when certain services are considered medically necessary and are “subject to

change without notice.” 12

           Two SelectHealth internal policies are relevant here—Policy 475 and Policy 582. Policy

475 lists criteria for coverage at psychiatric residential treatment centers, including a requirement

that treatment be “provided in reasonable proximity to a members[sic] community or residence

and support system.” 13 Concerning this criterion, Policy 475 cites to the Substance Abuse and

Mental Health Services Administration guidelines which indicate “outcomes are improved when

residential care is provided in close proximity to the patient’s home” because the treatment can



6
    Answer ¶ 23; Dkt. 227-1, Ex. 1 at IHC 193.
7
    Ex. 1 at IHC 47–48.
8
    Id. at IHC 60.
9
    Id.
10
     Dkt. 127-2, IHC Plan at IHC 193.
11
     Id.
12
     Id.
13
     Dkt. 227-3, Policy 475 at IHC 3184.


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incorporate a patient’s community and family “to build a life that supports recovery.” 14 Policy

582 outlines different levels of care for behavioral health issues and incorporates InterQual

criteria to evaluate whether certain care is medically necessary. 15 To qualify for admission to a

residential mental health facility under InterQual, a patient must suffer severe mental illness that

cannot be managed at a less intensive level of care or within their current living situation. 16

InterQual further requires a patient be reevaluated within the first few weeks to see if either a

lower level of care is feasible, progress is being made at the current level of care, or more

intensive care is needed. 17

           The Plan requires preauthorization to obtain benefits coverage for residential mental

health services. 18 Greater coverage is provided for services received at in-network facilities than

those at out-of-network facilities, but the Plan covers both. 19 Should a claim for benefits be

denied, the Plan offers participants an internal review process consisting of one mandatory

review and a possible voluntary review. 20 Participants obtain review of an adverse benefit

determination by submitting to SelectHealth a written appeal along with any relevant documents,

records, and other information. 21 “During the appeal process, no deference will be afforded to

the adverse benefit determination, and decisions will be made by fiduciaries who did not make




14
     Id. at IHC 3185.
15
     Dkt. 223-2, Policy 582 at IHC 2940.
16
     Dkt. 223-1, 2017 InterQual at IHC 2084–85.
17
     Id. at IHC 2086–89.
18
     IHC Plan at IHC 69.
19
     Id. at IHC 47–48.
20
     Id. at IHC 87.
21
     Id.


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the adverse benefit determination.” 22 A participant must exhaust the mandatory review before

pursuing civil action under ERISA. 23

                                 II.   Doe’s Medical History and Treatment

           In 2016, Doe sought mental health treatment for depression after struggles with her work

as a physician. 24 Doe presented as “very suicidal” and was diagnosed with Major Depressive

Disorder (MDD), Post Traumatic Stress Disorder (PTSD), and Insomnia Disorder. 25 She

received prescriptions to treat her symptoms but was unwilling to do therapy and would not limit

her access to guns. 26 Although Doe’s doctor discussed voluntary and involuntary hospitalization

with her, he ultimately determined she did not meet the criteria for admission. 27

           The medications only slightly alleviated Doe’s symptoms and by late 2016 she was

hospitalized three separate times for attempted suicide. 28 Hospital doctors determined Doe was a

good candidate for electroconvulsive therapy (ECT) and she began receiving treatments on an

outpatient basis. 29 Doe “noted significant improvement with regular ECT treatments,” reporting

no suicidal ideation and reduced depressive symptoms. 30 As Doe tapered the frequency of her

ECT treatments however, she began to experience worsening depressive symptoms and suicidal

ideation. 31 Doe eventually checked into an out-of-state psychiatric hospital where she remained


22
     Id. at IHC 86–87.
23
     Id. at IHC 87.
24
     Dkt. 194-1 at IHC 1039.
25
     Id. at IHC 1040, 1042.
26
     Id. at IHC 1042.
27
     Id.
28
     Dkt. 194-3 at IHC 934–35.
29
     Id. at IHC 937; Dkt. 217-4 at IHC 860–63.
30
     Dkt. 194-3 at IHC 937.
31
     Id. at IHC 933.


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until April 2017. 32 SelectHealth covered a portion of Doe’s stay at the psychiatric hospital but

denied the final few weeks after determining Doe had “no ongoing safety issues” and her

symptoms could be “handled safely in outpatient” care. 33 While hospitalized, Doe was

terminated from her job. 34

                                           A. First Stay at Austen Riggs

           On April 10, 2017, Doe checked into Austen Riggs Center, a residential mental health

treatment facility in Massachusetts (First Stay). 35 On admission, Doe stated she did “not believe

she [could] return to Utah” as “she would need to live with her parents, have no job, [and] she

would be moved to take action on ending her life.” 36 Staff considered Doe a “significant risk to

seriously harm” herself and found her condition had “been unresponsive to an appropriate course

of treatment at a less intensive level of care.” 37 Doe was diagnosed with MDD, PTSD, and

schizoid personality disorder. 38 It was anticipated Doe would stay for six weeks with longer

treatment possible. 39 She was admitted on a short-term basis leading to stepdown care. 40 A goal

sheet completed at admission listed short-term and long-term goals, such as gaining sufficient

self-management skills to discharge to outpatient treatment. 41



32
     Dkt. 258-1 at IHC 755–60.
33
     Dkt. 258-3 at IHC 632.
34
  Dkt. 212-1, Ex. 16 at IHC 1442; Ex. 15 at IHC 2137. Exhibit 15 is in seventeen parts, from Docket 195 to Docket
211. For ease of reference, the court identifies the Exhibit and Bates number rather than the including the docket
entry as well.
35
     Dkt. 195-1, Ex. 15 at IHC 2135.
36
     Id. at IHC 2137, 2145.
37
     Id. at IHC 2141.
38
     Ex. 16 at IHC 1444.
39
     Ex. 15 at IHC 2142.
40
     Id.
41
     Dkt. 214-10, Ex. 26 at IHC 1624–28.


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           Doe remained at Austen Riggs for four months. 42 During this stay, suicidal ideation was

a constant concern, although Doe’s depressive symptoms would “wax and wane.” 43

Additionally, on several occasions doctors noted concerns about Doe’s poor nutrition, weight

loss, and over-exercise. 44 Doctors twice ascribed to Doe an “unspecified Feeding and Eating

Disorder.” 45 After a month, Doe was sent for a physical to address these concerns. 46 A doctor

conducted a full exam before concluding Doe was likely “over-reporting her mileage that she is

running and under-reporting food intake because her electrolytes were all normal . . . and she has

not lost any weight.” 47

           Therapy during this stay was mostly unsuccessful. Doe participated only minimally and

refused to engage with peers and the therapeutic community, limiting her interactions to doctors

and staff. 48 On a couple occasions Doe did talk about receiving community support from her

mother and stepfather although she “intimated to [a] staff member that even [her stepfather]

could not keep her from killing herself.” 49 Eventually, Doe’s suicidality escalated and she was

involuntarily committed for psychiatric hospitalization. 50 After a nine-day psychiatric

hospitalization, Doe elected to return to Utah with her mother and stepfather. 51




42
     Dkt. 217-2 at IHC 1086.
43
     Ex. 15 at IHC 2149, 2155, 2156–57, 2160, 2166–2200.
44
     Id. at IHC 2152, 2156–57, 2160, 2162–64, 2166–2200.
45
     Dkt. 212-1 at IHC 1469, 1477.
46
     Ex. 15 at IHC 2297.
47
     Id. at IHC 2300.
48
     Id. at IHC 2152, 2163.
49
     Id. at IHC 2162–64, 2201–2217; Dkt. 198-1 at IHC 2277.
50
     Ex. 15 at IHC 2276–2282.
51
     Dkt. 212-1 at IHC 1501.


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                                   B. Second Stay at Austen Riggs

           Doe spent nearly a month with her mother and stepfather before reentering Austen Riggs

for additional treatment on September 13, 2017 (Second Stay). 52 In her consultation for the

Second Stay, Doe said her time at home had “helped her feel less desperate and depressed” 53 and

she “express[ed] interest in re-entering treatment as a way to claim a life she imagines worth

having.” 54 She reported that “she had a good month with her parents, feeling their love and

support, which left her not wanting to devastate them with her suicide.” 55 While home, her

eating and exercising had normalized and she denied having any psychotic symptoms or current

suicidal ideation. 56 A mental status exam found Doe was “mildly depressed although improved

since leaving.” 57

           Nevertheless, Doe again met the criteria for admission. 58 Staff found inpatient care was

warranted based in part on Doe’s prior suicide attempts and that she had previously been

unresponsive to treatment at a lower level. 59 Doe communicated an increased motivation and

renewed commitment “to do things differently, not only in being forthcoming about her risk of

suicide . . . but also around managing her weight, [food] intake and exercise.” 60 Her decision to

return rested on the realization that “feeling better at home could not translate into . . . get[ing]




52
     Ex. 15 at IHC 2445.
53
     Id. at IHC 2485.
54
     Id. at IHC 2445.
55
     Id.
56
     Id.
57
     Id. at IHC 2447.
58
     Id. at IHC 2443–51.
59
     Id. at IHC 2449.
60
     Id. at IHC 2451.


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better and return[ing] to her profession.” 61 Additionally, Doe continued to struggle with PTSD

symptoms such as “nightmares, flashbacks, and disassociation.” 62 Doe was admitted for a two

week re-evaluation period during which staff and Doe would assess whether treatment at Austen

Riggs was viable. 63

           Doe’s two-week evaluation period turned into a seven-month stay. 64 For most of the stay

Doe was no longer acutely suicidal, but she still experienced periods of suicidal ideation and her

doctor remained concerned given Doe’s history and tendency to be secretive. 65 Doe struggled

with worsening PTSD symptoms, marked by severe insomnia, anxiety, inability to trust, anger,

and significant trauma from childhood sexual abuse. 66 Doctors attempted to send Doe to undergo

a sleep study on several occasions but she always backed out. 67

           There were few issues with Doe’s weight during the Second Stay. Doctors noted she was

healthy, stable, and “less preoccupied with exercise and limited food preferences.” 68 It was only

right before discharge that doctors noted renewed concern about Doe’s weight. 69

           Doe again struggled to engage in the therapeutic community. For the first couple months

after she reentered treatment, there were positive changes in Doe’s activity levels. 70 She




61
     Id.
62
     Id. at IHC 2485.
63
     Id. at IHC 2451.
64
     Id. at 2472–74.
65
   Id. at IHC 2470–71; see also id. at IHC 2445–72 (noting passive and vague suicidal ideation, a lack of a plan, but
continued concerns).
66
     Id. at IHC 2445–72.
67
     Id. at IHC 2467–69.
68
     Id.; see also id. at IHC 2445, IHC 2457–58, IHC 2459–61.
69
     Ex. 15 at IHC 2472–74.
70
     Id. at IHC 2459–61.


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completed her continuing medical education requirements and renewed her medical license. 71

She joined some community groups and began making a quilt. 72 But shortly after that she

became less participative, rarely interacting with peers, and eventually isolating herself and

confining nearly all her interactions to staff. 73 In March 2018, Doe’s doctor confronted her about

the problem, writing “I have spoken frankly about how stuck she seems in the treatment now,

unable to engage in the therapeutic community program and missing out on a major part of our

treatment program by continuing to do this.”74 The doctor further noted, “Doe feels stubbornly

opposed to joining any patient groups.” 75 Her stepfather also opined that Doe seemed better in

her month at home and “thought she might be better off living at home.” 76

           Doe’s therapist discussed moving her to a step-down facility but she was “powerfully

resistant to taking the steps to move to a less expensive lower level of care.” 77 She felt certain

she would not thrive in lower care because she was connected to Austen Riggs staff and needed

them. 78 She indicated she “would rather remain in [her present setting] than work towards

actively engaging in treatment that would allow her to” step down. 79 Yet, Doe appeared




71
     Dkt. 217-5 at IHC 1756, 1760.
72
     Id. at IHC 1754.
73
     Ex. 15 at IHC 2463–69, 2470–71.
74
   Id. at IHC 2470–71 (“[W]e have talked about her insistence on a patient/staff relationship in lieu of family and
peer relationships which is countertherapeutic.”).
75
     Id.
76
     Id. at IHC 2631.
77
     Ex. 15 at IHC 2471.
78
     Id.
79
     Id.


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frustrated and angry over the lack of progress. 80 She admitted to suicidal ideation with a concrete

plan and increased despair. 81

           Eventually, Doe decided to return to Utah with her parents, in part because she was

unable to make meaningful relationships within the therapeutic community. 82 Staff encouraged

Doe to go to another program for help with interpersonal relationships but she was resistant. 83

Shortly before discharge, increased safety concerns led to Doe being transferred to a psychiatric

hospital. 84 Once stabilized, Doe returned to Utah with family. 85

                                     III.     Administrative Review Process

                                                     A.   First Stay

                                  1. Initial Denial

           In April 2017, Doe requested preauthorization for her First Stay at Austen Riggs. 86

Initially, the doctor reviewing the request denied coverage because Doe did not have a history of

active engagement in less intensive levels of care and she had support and resources in Utah. 87 A

doctor from Austen Riggs spoke with the reviewer who then approved treatment from April 10,

2017 to May 17, 2017. 88 SelectHealth denied coverage for the remainder of the First Stay (May

17, 2017 to August 9, 2017). 89


80
     Id. at IHC 2472.
81
     Id. at IHC 2472–73.
82
     Ex. 15 at IHC 2822.
83
     Id. at IHC 2472–73, 2822.
84
     Id. at IHC 2473.
85
     Id.
86
     Dkt. 222-4, Ex. D at IHC 684.
87
     Id.
88
     Id.; see also Dkt. 214-27, Ex. 27 at IHC 670.
89
     Ex. 27 at IHC 670.


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           The denial letter indicated the services did “not meet medical criteria.” 90 It referenced

three specific InterQual criteria: current symptoms, treatment progress, and availability of

outpatient programs. 91 According to the reviewer, Doe was stable and had fewer safety issues. 92

The reviewer determined the work Doe was doing to address trauma “could best be addressed

with local care.” 93 He felt there were “no unique services . . . delivered at Austen Riggs that

could not be provided in community or in-network.” 94 Center for Change, a Utah facility

focusing on eating disorders, was mentioned as an appropriate option, along with day treatment

or intensive outpatient programs. 95

                                2. Level-One Appeal and Denial

           Doe appealed SelectHealth’s denial on June 30, 2017. 96 In her appeal letter, Doe argued

treatment at Austen Riggs was essential because ECT in Utah had been unsuccessful and “there

are no residential programs in Utah that have the level of expertise and experience to treat my

complicated psychiatric issues.” 97 She mentioned her symptoms—depression, weight loss,

suicidal ideation—and argued out-patient treatment in Utah “would put my life at risk.” 98 Doe

included medical records, therapy notes, and a letter from her therapist at Austen Riggs. 99




90
     Id.
91
     Id.
92
     Id.
93
     Id.
94
     Ex. 27 at IHC 670.
95
     Id.
96
     Dkt. 212-1, Ex.16 at IHC 1442.
97
     Id.
98
     Id.
99
     Id. at IHC 1443.


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            The letter from Doe’s therapist pointed out several “errors of fact” in the initial denial

letter. 100 First, it noted the denial only included Doe’s diagnosis for MDD, completely missing

her PTSD and personality disorder. 101 The letter then noted Doe’s extreme suicidality and argued

the evidence showed Doe had been unable to benefit from prior treatments in Utah. 102 The

therapist opined that the psychotherapy offered at Austen Riggs was unique to their program and

unavailable at Center for Change. 103 Additionally, the therapist indicated Doe did not meet the

criteria for an eating disorder, nor was she a candidate for outpatient treatment. 104

            The letter also pushed back against SelectHealth’s use of the InterQual criteria. 105 Using

a different set of nationally recognized guidelines, LOCUS, the therapist opined that it was

medically necessary for Doe to receive residential mental health treatment. 106

            On October 20, 2017, SelectHealth denied Doe’s first-level appeal for the First Stay. 107

The reviewing physician, Dr. Scott Whittle, concluded “[t]he current level of care does not meet

medical need based on lack of clinical progress, lack of treatment plan that has reasonable

chance of clinical improvement and care being outside of members[sic] support system.” 108

Doctor Whittle indicated Doe had more resources and support in Utah than acknowledged. 109




100
      Id. at IHC 1444.
101
      Id.
102
      Id.
103
      Id.
104
      Id.
105
      Id. at IHC 1445.
106
      Id.
107
      Dkt. 221-5, Ex.44 at IHC 571.
108
      Id.; see also Dkt. 221-8, Ex. 47 at IHC 2082.
109
      Ex. 44 at IHC 571.


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Based on Dr. Whittle’s opinion, SelectHealth denied the appeal. 110 SelectHealth explained its

determination was based on medical necessity and quoted the relevant provision in the Plan:

            To qualify for Benefits, Covered Services must be Medically Necessary. Medical
            Necessity is determined by SelectHealth’s Medical Director or Another Physician
            designated by SelectHealth. A recommendation, order or referral from a Provider
            or Facility, including Participating Providers and Facilities, does not guarantee
            Medical Necessity. 111

The letter concluded by informing Doe of her appeal options and stated “second level mandatory

review is required by the Plan before you may pursue judicial review” under ERISA. 112

                                 3. Level-Two Appeal and Denial

            On December 1, 2017, Doe requested outside review of SelectHealth’s denial on the First

Stay. 113 Doe claimed Austen Riggs was the best program to treat her diagnoses. 114 Specifically,

Doe argued Utah’s outpatient programs and the Center for Change could not provide the level of

care she needed to become healthy. 115 Doe also argued she had no support structure outside of

her parents and in fact, the rest of her family was a “strong negative” influence. 116

            Once again, Doe attached her medical records and therapeutic notes along with an

updated letter from her psychotherapist. 117 The therapist argued Mr. Whittle’s assessment was

“simply erroneous on many levels” and requested a review using LOCUS standards from an




110
      Id.
111
      Id.
112
      Id. at IHC 572.
113
      Dkt. 215-1, Ex. 30 at IHC 1576.
114
      Id.
115
      Id.
116
      Id. at IHC 1576–77.
117
      Id. at IHC 1576–81.


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independent physician not on SelectHealth’s payroll. 118 The therapist argued Doe’s treatment

was medically necessary under LOCUS and, according to research, highly effective. 119 The letter

opined that Doe’s variable symptoms were expected, given her severe trauma, and the staff had

reasonable expectations that Doe would improve with ongoing treatment at Austen Riggs. 120

Finally, the therapist strongly disagreed with Whittle’s recommendations for care in Utah. 121 The

therapist explained why the two recommended programs were inappropriate to treat Doe’s

symptoms and asked SelectHealth’s independent reviewer “to address this concern so that these

two facilities do not continue to be suggested as adequate alternatives.” 122

            A SelectHealth review committee, including Dr. Whittle, denied the second-level appeal

on March 9, 2018. 123 The committee explained,

            SelectHealth covers residential treatment center services in limited circumstances
            when specific criteria are met. The committee reviewed the medical records and
            agreed that the care provided does not meet criteria for residential level of care.
            The notes do not indicate any discharge planning or transition to an alternative
            level of care. Furthermore, there is no indication of goals or progress towards
            goals except to address persistent SI. There is no evidence of recovery during this
            stay. 124

The letter then quoted the medical necessity provision from the Plan as the basis for the denial. 125

Finally, the letter gave notice that the formal internal appeal process was complete but further

review was available through filing an ERISA claim. 126


118
      Ex. 30 at IHC 1579.
119
      Id. at IHC 1579–80.
120
      Id. at IHC 1579–81.
121
      Id. at IHC 1581.
122
      Ex. 30 at IHC 1581.
123
      Ex. 15 at IHC 2935.
124
      Id.
125
      Id.
126
      Id. at IHC 2936.


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                                                B. Second Stay

                                 1. Initial Denial

            Doe requested preauthorization for the Second Stay in September 2017. SelectHealth

initially denied the request on September 18, 2017. 127 The denial letter indicated the services did

“not meet medical criteria.” 128 It quoted Policy 475 and concluded there were qualified services

in Utah which were better suited to incorporate Doe’s family and facilitate aftercare. 129

Specifically, the letter referenced Center for Change and New Roads, a behavioral treatment

center for adults with mental health and substance abuse disorders. 130 Finally, the letter noted

Doe had “already participated in this level of care with no real alteration of . . . outcome.” 131

            After a peer-to-peer review, the preauthorization denial was upheld in a follow-up letter

on September 22, 2017. 132 This letter contained the same information found in the September 18

letter, with an additional statement reiterating that all the services provided to Doe were within

the range and skill of local, in-network facilities. 133

                                 2. Level-One Appeal and Denial

            Doe appealed the denial of coverage for the Second Stay in March 2018. 134 Doe argued a

second residential stay at Austen Riggs was “essential” since her depression progressed despite




127
      Dkt.217-7, Ex. 37 at IHC 697.
128
      Id.
129
      Id.
130
      Id.
131
      Id.
132
      Dkt. 217-6, Ex. 36 at IHC 710.
133
      Id.
134
      Dkt. 214-1 at IHC 2106; Dkt. 217-5 at IHC 1719–1760.


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the ECT and medications in Utah. 135 She defended her perceived lack of progress during the

First Stay, arguing the work required to process her severe and long-lasting trauma is

destabilizing. 136 She also challenged SelectHealth’s Utah-based recommendations, writing “I

have . . . researched the treatment options available in Utah and feel confident in saying they are

completely inadequate for the complexity and severity of my psychiatric illness.” 137

            Attached to the appeal were Doe’s medical records and therapist notes from September to

December 2017, along with letters from a treating doctor and psychotherapist. 138 The letter from

Doe’s psychotherapist pointed out SelectHealth again incorrectly identified Doe’s diagnosis as

solely MDD, omitting her PTSD and other personality disorders. 139 According to the

psychotherapist, the combination of diagnoses required more intense treatment than SelectHealth

could offer at the suggested Utah facilities. 140 The therapist requested SelectHealth provide “a

more elaborate explanation as to why [it] continues to recommend these psychiatric facilities

which do not provide comparable intensive treatment . . . and do not seem geared toward the

complex psychiatric co-morbidity that [Doe] suffers from.” 141 The letter then referenced the

LOCUS standards and explained Doe met these criteria for residential psychiatric treatment. 142




135
      Dkt. 214-1 at IHC 2106.
136
      Id.
137
      Id.
138
      Dkt. 217-5 at IHC 1719–1760.
139
      Dkt. 271-1 at IHC 2108.
140
      Id.
141
      Id.
142
      Id.


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            SelectHealth denied the first-level appeal for Doe’s Second Stay on April 18, 2018. 143

The reviewing physician gave two bases for denial: 1) network facilities could provide the

treatment Doe needed and there was “no evidence,” other than the opinions of Doe and her

therapist, to conclude network facilities were inadequate; 2) documentation did not establish Doe

“met criteria for [residential treatment] level of care.” 144 Quoting the medical necessity provision

from the Plan, SelectHealth rejected the appeal and denied coverage. 145 The letter concluded by

informing Doe of her appeal options and stated “second level mandatory review is required by

the Plan before you may pursue judicial review” under ERISA. 146

                                3. Level-Two Appeal and Denial

            On June 14, 2018, Doe submitted a level-two appeal for the Second Stay. 147 This appeal

included another letter from Doe’s psychotherapist and was accompanied by hundreds of pages

of medical records and therapy notes—for the first time including all the documentation from

April 2017 to April 2018. 148 Doe’s therapist argued SelectHealth’s benefits denial was improper

for three reasons. 149 First, the plan’s geographic restrictions were, according to the therapist,

discriminatory and clinically insupportable. 150 Second, SelectHealth failed to apply “generally

accepted standards of medical practice” to evaluate her care, as required by the Plan. 151 Third,




143
      Dkt. 221-3 at IHC 564.
144
      Id.
145
      Id.
146
      Id. at IHC 565.
147
      See generally Ex. 15 at IHC 2109–2936.
148
      See generally id.
149
      Ex. 15 at IHC 2110.
150
      Id.
151
      Id.


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SelectHealth showed “flagrant disregard” for the clinical evidence showing Doe’s care was

medically necessary. 152 The therapist went on to challenge SelectHealth’s medical conclusions

with references to scholarly research articles, Austen Riggs treatment statistics, and facts from

the record. 153

            SelectHealth denied the level-two appeal for the Second Stay on July 19, 2018. 154 Other

than updating the dates and committee members in the opening paragrah, the letter quoted

verbatim from the level-two denial letter for the First Stay. 155 It relied on the same rationales for

denial as on the First Stay (criteria unmet, no discharge planning or goal-setting, lack of

recovery) with no new facts or analysis. 156 The letter again quoted the medical necessity

provision before concluding with information about Doe’s litigation options. 157

                                       IV.      Procedural History

            Having exhausted her prelitigation options, Doe filed a Complaint with this court on

October 17, 2018. 158 After several amendments, 159 Plaintiff’s operative Complaint includes seven

causes of action: (1) individual claim for recovery of benefits under 29 U.S.C. § 1132(a)(1)(B);

(2) individual claim for injunctive relief under 29 U.S.C. § 1132(a)(3)(A); (3) individual claim

for equitable relief under 29 U.S.C. § 1132(a)(3)(B); (4) individual claim for statutory penalties


152
      Id.
153
      Id. at IHC 2110–20.
154
      Dkt. 221-9 at IHC 567.
155
      Id.
156
      Id.
157
      Id.
158
      Dkt. 2.
159
   The operative Complaint is the Third Amended Complaint. Dkt. 150. The parties stipulated to the First Amended
Complaint. Dkt. 33. Plaintiff filed the Second Amended Complaint after the court granted a Motion to Dismiss one
claim from the First Amended Complaint. See Dkts. 40, 68, 70, 74. And, upon objections from Defendants, the
court granted Plaintiff leave to file a Third Amended Complaint. See Dkts. 112, 128, 131, 147.


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under 29 U.S.C. § 1132(c); (5) class claim for recovery of benefits and to clarify future benefits;

(6) class claim for injunctive relief under 29 U.S.C. § 1132(a)(3)(A); and (7) class claim for

equitable relief under 29 U.S.C. § 1132(a)(3)(B).

            On December 5, 2018, Doe requested certain Plan documents from IHC:

            1. All instruments (including the NCQA Utilization Management Program
               Description) reflecting the non-quantitative treatment limitations imposed by
               the Select Med Plus Plan in 2017 and 2018, and all instruments analyzing the
               nonquantitative treatment limitations imposed by the Select Med Plus Plan in
               2017 and 2018[.]
            2. Reimbursement methodologies and schedules for all out-of-network benefits
               for 2017 and 2018[.] 160

            IHC responded the next month. 161 As to the first request, IHC took the position that

federal law did not require the disclosure of such documents because they are not binding on

SelectHealth and not part of the formal Plan documents. 162 IHC did provide copies of the

policies and criteria applicable to Doe’s claims, along with criteria for in-patient treatment on

selected disorders. 163 IHC took the same position on the request for reimbursement schedules

and methodologies. 164 In lieu of the requested documents, IHC enclosed copies of the 2017 and

2018 Health Insurance Handbooks with the pay schedules for in-network and out-of-network

facilities. 165

            Plaintiff subsequently filed a request for production seeking the Plan’s 2017 and 2018

reimbursement methodologies and schedules, specifically those for inpatient mental health and



160
      Dkt. 221-10, Ex. 49.
161
      Dkt. 221-11, Ex.50.
162
      Id.
163
      Id.
164
      Id.
165
      Id.


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medical/surgical benefits. 166 SelectHealth created a reimbursement schedule for residential

mental health treatment for the purposes of responding to this discovery request. 167 Defendants

objected to the other portion of the request seeking reimbursement schedules for inpatient

medical/surgical benefits. 168 Nevertheless, they provided a number of other documents in

response, including: a summary of in-network target rates for certain analogous medical/surgical;

a summary of out-of-network rates for analogous care facilities; and, an explanation of

reimbursement methodology for different types of claims. 169 With these documents, Defendants

asserted they had met their discovery obligations for this request. 170

            On July 22, 2022—the dispositive motion deadline—Plaintiff filed the present Motion

under Federal Rule of Civil Procedure 56(a) seeking summary judgment on Doe’s individual

claims (Counts 1–4). 171 Defendants did not file their own Rule 56(a) motion for summary

judgment but requested in their response brief “that summary judgment be entered in their favor

pursuant to Rule 56(f)(1) because Plaintiff has not met . . . her burden of proof on these

claims.” 172 On March 9, 2023, the court held a hearing on the Motion and now issues its

decision. 173




166
      Dkt. 221-12, Ex. 51.
167
      Dkt. 221-13, Ex. 52 at A.
168
      Dkt. 227-9, at 3–4.
169
      Id. at 4–9.
170
      Id. at 7.
171
      See MSJ.
172
      Dkt. 256, Response to Plaintiff’s Motion for Summary Judgment on Counts One Through Four (Response) at 2.
173
      Dkt. 282, Minute Entry for March 9, 2023.


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                                                 LEGAL STANDARD

            Summary judgment is appropriate under Rule 56(a) if the movant demonstrates there is

“no genuine dispute as to any material fact” and it is “entitled to judgment as a matter of law.” 174

The court must view the facts and draw all reasonable inferences in a light favorable to the

nonmoving party. 175

            “[T]he moving party carries the burden of showing beyond a reasonable doubt that it is

entitled to summary judgment.” 176 If the moving party also carries the burden of persuasion at

trial, “a more stringent summary judgment standard applies.” 177 In those circumstances, the

moving party obtains summary judgment only if it establishes, “as a matter of law, all essential

elements of the issue.” 178 The nonmovant is then “obligated to bring forward any specific facts

alleged to rebut the movant’s case.” 179

            Subsection (f) of Rule 56 allows a court to grant summary judgment for a nonmovant

after giving the opposing party “notice and a reasonable time to respond.” 180 This rule

recognizes district courts’ “widely acknowledged . . . power to enter summary judgments sua

sponte.” 181 But “[t]his power should be exercised sparingly and with great circumspection.” 182



174
      Fed. R. Civ. P. 56(a).
175
      Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998).
176
      Pelt v. Utah, 539 F.3d 1271, 1280 (10th Cir. 2008) (internal quotation marks and citations omitted).
177
      Id. at 1280.
178
      Id. (internal citations and quotations omitted).
179
      Id.
180
      Fed. R. Civ. P. 56(f).
181
      See Celotex Corp. v. Catrett, 477 U.S. 317, 326 (1986).
182
   McCoy v. Town of Pittsfield, NH, 59 F.4th 497, *4 (1st Cir. 2023) (internal citations and quotations omitted); see
Oldham v. O.K. Farms, Inc., 871 F.3d 1147, 1150 (10th Cir. 2017) (“[T]hough we generally don’t favor the granting
of summary judgment sua sponte, a district court may do so if the losing party was on notice that she had to come
forward with all her evidence.”).


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                                                      ANALYSIS

           There are four causes of action presently before the court: (1) an individual claim for

wrongful denial of benefits under ERISA, (2) an individual claim for injunctive relief for

violations of the Parity Act, (3) an individual claim for equitable relief for violations of the Parity

Act, and (4) a request for statutory penalties. 183 The court begins by evaluating the denial of

benefits before turning to the Parity Act claims and the request for statutory penalties.

                                         I.       BENEFITS (Claim One)

           ERISA was designed “to promote the interests of employees and their beneficiaries.” 184

To that end, ERISA provides a civil enforcement mechanism, allowing plan participants to seek

judicial review of an administrative denial of benefits and recover the benefits due under the

terms of their ERISA plan. 185 The deference a court affords a benefits determination on judicial

review depends upon the amount of discretion granted the claims review fiduciary and whether

the fiduciary properly exercised that discretion in denying the claim. 186

           Plaintiff seeks judicial review of SelectHealth’s denial of benefits and asserts the court

should review the determination de novo. Plaintiff argues she is entitled to summary judgment

on Doe’s claim for benefits regardless the standard of review because SelectHealth violated Plan

terms in declining coverage. 187 SelectHealth disagrees, arguing its decision to deny benefits was




183
      See MSJ at 2; Response at 2.
184
    Millsap v. McDonnell Douglas Corp., 368 F.3d 1246, 1249–50 (10th Cir. 2004) (internal citations and quotations
omitted).
185
   See Rasenack ex rel. Tribolet v. AIG Life Ins. Co., 585 F.3d 1311, 1315 (10th Cir. 2009); 29 U.S.C.
§ 1132(a)(1)(B).
186
      See Gilbertson v. Allied Signal, Inc., 328 F.3d 625, 631–37 (10th Cir. 2003).
187
    MSJ at 25. Doe was a beneficiary of the Plan and Smith, as her personal representative, acts on her behalf in
litigating these claims.


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proper under any standard of review. 188 Before discussing the claim for denial of benefits, the

court addresses the applicable standard of review. 189

                    A. STANDARD OF REVIEW

           A denial of benefits is reviewed de novo unless the plan gives the claims review fiduciary

“discretionary authority to determine eligibility for benefits or to construe the terms of the

plan.” 190 If the plan grants the fiduciary discretionary authority, the court applies a deferential

standard of review, “asking only whether the denial of benefits was arbitrary and capricious.” 191

But this deferential standard of review applies only if the fiduciary properly exercised its

discretion by complying with ERISA in making its determination. 192 Less deference is given

where the fiduciary fails to comply with ERISA’s procedural requirements. 193

           The Tenth Circuit previously “declined to apply a hair-trigger rule requiring de novo

review whenever the plan administrator, vested with discretion, failed in any respect to comply

with the procedures mandated by” ERISA regulations. 194 Instead, if an administrator

“substantially complied” with ERISA’s procedural requirements, its decision was reviewed de

novo. 195 Substantial compliance is met if the procedural irregularities shown are (1)




188
      Response at 59–74.
189
    LaAsmar v. Phelps Dodge Corp. Life, Accidental Death & Dismemberment & Dependent Life Ins. Plan, 605 F.3d
789, 796 (10th Cir. 2010).
190
      Rasenack, 585 F.3d at 1315 (quoting Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989)).
191
      LaAsmar, 605 F.3d at 796.
192
    Rasenack, 585 F.3d at 1315 (“Under trust principles, a deferential standard of review is appropriate when trustees
actually exercise a discretionary power ‘vested in them by the instrument under which they act.’” (quoting
Firestone, 489 U.S. at 111)).
193
      Id. at 1316–17.
194
      LaAsmar, 605 F.3d at 799 (internal citation and emphasis omitted).
195
      See Gilbertson, 328 F.3d at 634.


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inconsequential, and (2) “in the context of an ongoing, good faith exchange of information

between the administrator and the claimant.” 196

            Subsequent amendments to ERISA have called into question the continued viability of

the substantial compliance doctrine. 197 Still, a failure to substantially comply with ERISA’s

procedural requirements warrants de novo review. 198 The party arguing for a more deferential

standard of review bears the burden of establishing its applicability. 199

            Neither party disputes the Plan grants SelectHealth discretionary authority to determine

eligibility for Plan benefits and to construe the terms of the Plan. 200 Plaintiff argues SelectHealth

abused its discretionary authority by violating ERISA’s procedural requirements in denying

Doe’s claims, thereby warranting de novo review of the benefits determinations. 201 Specifically,

Plaintiff argues SelectHealth committed three serious procedural irregularities: (1) the adverse

benefits determinations “failed to identify any Plan term that was the basis for the denial,” (2) the

administrative appeal process did not provide Doe a full and fair review of her claims, (3)

SelectHealth failed to reasonably consider all documents supporting the appeals. 202 The court

addresses each argument in turn.




196
      Id. at 635.
  Rasenack, 585 F.3d at 1316; see Kellogg v. Metro. Life Ins. Co., 549 F.3d 818, 828 (10th Cir. 2008); Hancock v.
197

Metro. Life Ins. Co., 590 F.3d 1141, 1152 n.3 (10th Cir. 2009).
198
      Rasenack, 585 F.3d at 1315–17.
199
      LaAsmar, 605 F.3d at 796.
200
   Dkt. 127-2, IHC Plan at IHC 193 (“Intermountain as Plan Administrator has delegated its discretionary authority
with respect to making and reviewing benefit claims determinations to SelectHealth. As a claims review fiduciary,
each such company has sole discretionary authority to determine the availability of benefits under the plan . . . .”).
201
      MSJ at 22.
202
      MSJ at 23–24.


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                     1. Failure to Identify Specific Plan Provisions

           For denials of a claim, ERISA regulations require an administrator to reference “the

specific plan provisions,” and the “internal rule, guideline, protocol, or other similar criterion”

relied upon in making the adverse determination. 203 This information must be communicated “in

a manner calculated to be understood by the claimant.” 204 “In simple English, what this

regulation calls for is meaningful dialogue between ERISA plan administrators and their

beneficiaries.” 205 A denial must be clearly stated and if more information is needed, an

administrator must clearly ask for it. 206 In the words of Judge Kozinski, “There is nothing

extraordinary about this: it’s how civilized people communicate with each other regarding

important matters.” 207

           Plaintiff argues Defendants violated this notice regulation by failing to identify the

specific plan provision relied upon in denying Doe’s claim for benefits. 208 In reply, Defendants

argue the denial letters sufficiently identified plan terms by referencing an internal policy,

indicating Doe’s request did “not meet medical criteria,” and quoting the medical necessity

provision of the plan in the first-level appeals. 209 Plaintiff argues, and the court agrees,




203
    29 C.F.R. § 2560.503-1(g)(1)(ii), (v)(A) (procedural requirements for notification of a benefit determination); 29
C.F.R. § 2560.503-1(j)(2), (5)(i) (procedural requirements for notification of a benefit determination on review).
204
      29 C.F.R. § 2560.503-1(g), (j).
  Gilbertson, 328 F.3d at 635 (quoting Booton v. Lockheed Med. Benefit Plan, 110 F.3d 1461, 1463 (9th Cir.
205

1997).
206
   See id.; see also Grossmuller v. Int’l Union, 715 F.2d 853, 858 (3d. Cir. 1983) (“The fiduciary must notify the
participant . . . in writing and in language likely to be understood by laymen . . . .”).
207
      Id. (quoting Booton, 110 F.3d at 1463).
208
      MSJ at 23.
209
      Response at 62.


                                                          25
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Defendants still fall short in communicating the basis for denial in a reasonably clear manner as

required. 210

           Both initial denial letters fail to identify a “specific plan provision on which the benefit

determination is made.” 211 The letters obliquely state Doe’s request for coverage “does not meet

medical criteria.” There’s nothing specific about this reference, and Defendants do not claim this

language refers to a specific Plan provision. 212 The initial denial letter for the First Stay

references the internal InterQual criteria for residential treatment mental health services but

without tying it to the Plan. 213 Similarly, the initial denial letters for the Second Stay reference

internal Policy 475 without identifying how this Policy applies to the terms of the Plan. 214 While

the follow-up appeal denials are more helpful, none of them clearly identify both the Plan

provision, and the internal policy and specific criteria relied upon for the benefits

determination. 215 A claimant reading these letters would be hard-pressed to understand the full

basis for denial. Thus, the court finds a serious procedural irregularity on this basis. 216




210
      Reply MSJ at 7–8.
211
      See 29 C.F.R. 2560.503-1(g)(1)(ii); see also Ex. 27 at IHC 670; Ex. 36 at IHC 710; Ex. 37 at IHC 697.
212
      Response at 62.
213
      Ex. 27 at IHC 670.
214
      Ex. 36 at IHC 710; Ex. 37 at IHC 697.
215
   See Ex. 44 at IHC 571–72 (first-level appeal for First Stay: mentions medical necessity but does not reference
Policy 475 or InterQual criteria); Ex. 43 at IHC 574 (second-level appeal for First Stay: same); Ex. 42 at IHC 564–
65 (first-level appeal for Second Stay: same); Ex.48 at 567–68 (second-level appeal for Second Stay: same).
216
   Defendants briefly argue Doe cannot establish she was prejudiced by any failure to identify Plan provisions in
denial letters. Response at 62. Defendants cite Holmes v. Colorado Coalition for Homeless Long Term Disability
Plan, 762 F.3d 1195 (10th Cir. 2014) in support. But in Holmes, the court evaluated prejudice in deciding whether a
claim could be deemed denied and excuse the claimant’s failure to exhaust administrative remedies. 762 F.3d at
1212–13 (“Although this circuit has not had prior occasion to consider application of the deemed-exhausted
provision to violations of ERISA’s notice and disclosure requirements, other circuits have consistently limited its
application to situations where such violations prejudice claimants by denying them a reasonable review
procedure.”). Without more, this does not provide a basis to apply the concept here, where the court is analyzing an
administrator’s compliance with ERISA’s procedural regulations to determine the proper standard of review.


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                     2. Full and Fair Review

            ERISA requires plan administrators to afford participants a “reasonable opportunity” to

obtain a “full and fair review” of an adverse benefits determination. 217 To effectuate this policy,

regulations impose upon administrators a duty to, among other things, provide adequate notice

and an unbiased review of the claim. 218 Plaintiff claims Doe did not receive a full and fair review

in three ways: (a) the first-level appeals denial letters cited a new rationale, robbing Doe of

notice and an opportunity to respond, (b) the same physician reviewer evaluated both levels of

appeals for the First Stay, and (c) the first-level appeal denials incorrectly explained the review

process and requirements. 219 The court addresses each argument in turn.

                                 a. Notice and Opportunity to Respond

            First, as part of providing a full and fair review, claimants must be given notice and an

opportunity to respond when an administrator uses new or additional rationale in a final benefits

denial. 220 As noted, both Doe’s initial denial letters failed to mention medical necessity as

grounds for denying coverage. 221 After she appealed the benefits determination, the first-level

appeals letters cited the medical necessity provision of the Plan as the basis for denial. 222 Doe

argues this violates ERISA’s full and fair review requirement. 223 But this was not a final adverse




217
      29 U.S.C. § 1133.
  See, e.g., Brimer v. Life Ins. Co. of N. Am., 462 Fed. App’x 804, 808–809 (10th Cir. 2012) (citing 29 C.F.R. §
218

2650.503-1(g)(1)(i)–(iii); 29 C.F.R. § 2560.503-1(h)(2)).
219
      MSJ at 24.
 29 C.F.R. § 2590.715-2719(b)(2)(C)(2); see Mark M. v. United Behav. Health, No. 2:18-cv-00018-BSJ, 2020
220

WL 5259345, at *9 (D. Utah Sept. 3, 2020).
221
      See Exs. 27, 36, 37.
222
      See Exs. 42, 43, 44, 48.
223
      29 C.F.R. § 2590.715-2719(b)(2)(C)(1)–(2); see MSJ at 24.


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benefits determination and Doe had an opportunity to respond with her second-level appeals. 224

Thus, the letters do not violate this requirement.

                              b. Impartial Review

            Next, a full and fair review also includes an appeal conducted by an impartial, properly

trained doctor. 225 When an adverse benefits decision is “based in whole or in part on a medical

judgment,” the regulations require the administrator to “consult with a health care professional

who has appropriate training and experience in the field of medicine involved,” who is not “an

individual who was consulted in connection with the adverse benefit determination that is the

subject of the appeal.” 226

            Plaintiff argues Selecthealth violated this provision by consulting with the same and only

psychiatrist for Doe’s first- and second-level appeals on the First Stay. 227 Defendants claim there

was no violation. 228 They argue this provision only prohibits the doctor who issued the initial

benefits determination from reviewing the appeal, thus allowing the same doctor to consult on

different levels of appeal. 229 In return, Plaintiff points to a case from New York and this

statement from the Department of Labor website: “[T]he second level of review is subject to the

same standards that apply to the first level of review. . . . [T]he reviewer must not be the same




224
   Plaintiff asserts Doe “only filed the second-level appeals because SelectHealth repeatedly misled her that two
levels of review were required under the Plan.” Reply MSJ at 8. Regardless the reason, Doe was afforded an
opportunity to respond to the new rationale.
225
      See 29 C.F.R. § 2560.503(h)(3)(ii), (v).
226
      See 29 C.F.R. § 2560.503(h)(3)(v).
227
      MSJ at 24.
228
      Response at 64.
229
      Id.


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person who made the first level review decision on the claim.” 230 Although the law on this point

is sparse, the available cases indicate SelectHealth violated this provision and committed a

procedural irregularity.

           The regulation does not define “adverse benefit determination.” 231 By its plain language,

the phrase could include both an initial denial and denial of an appeal. 232 Thus, the regulation

could be read as prohibiting review by the same medical doctor “who was consulted in

connection with” a denial of a first-level appeal that is now the subject of a second-level

appeal. 233

           Courts are split over whether, based on this provision, a full and fair review requires a

new medical professional to evaluate a second-level appeal. 234 Most courts addressing the issue

look to whether the administrator relied upon or gave deference to the opinion of the same doctor

in the first and second appeal, or if the administrator consulted additional qualified doctors for




230
   Reply MSJ at 8 (quoting Benefit Claim Procedure Regulation FAQs, Dep’t of Labor,
https://www.dol.gov/agencies/ebsa/about-ebsa/our-activities/resource-center/faqs/benefit-claims-procedure-
regulation (last visited July 31, 2023)).
231
      See 29 C.F.R. § 2560.503-1(h)(3)(v).
232
    See id.; see also Schultz v. PNC Fin. Servs. Grp., Inc. & Affiliates Long-Term Disability Plan, 58 F. Supp. 3d
782, 791 (E.D. Ky. 2014) (“Admittedly, ‘the plain meaning of the regulation's text does not clearly indicate whether
all physicians consulted during the appeal process must be new physicians, or whether at least one new physician
will suffice.’” (quoting Wintermute v. The Guardian, 524 F.Supp.2d 954, 963 (S.D.Ohio 2007))).
233
      See 29 C.F.R. § 2560.503-1(h)(3)(v).
234
   Compare Krysten C. v. Blue Shield of Ca., 721 F. App’x 645, 647 (9th Cir. 2018) (“ERISA does not mandate
new decision-makers for a review of an appeal.”), and White v. Standard Ins. Co., 895 F. Supp. 2d 817, 851 (E.D.
Mich. 2012) (“ERISA does not require administrators who allow a voluntary second appeal to consult a third
physician.”), aff’d, 529 F. App’x 547 (6th Cir. 2013), with Lafleur v. La. Health Serv. & Indem. Co., 563 F.3d 148,
156–57 (5th Cir. 2009) (“While the same doctor can participate in (rather than conduct) both administrative appeals,
exclusive reliance on the opinion of the same doctor in both appeals runs afoul of § 2560.503-1(h)(3)(ii).”)


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the second appeal. 235 Often, an administrator is allowed to use the same doctor for both appeals

provided it “also considers the opinion of a new, qualified medical professional.” 236

           Although the parties did not cite controlling caselaw, there are two cases with factually

similar circumstances coming out of this court and the Tenth Circuit. 237 In both cases, a doctor

consulting on a second-level appeal had also participated in earlier decisions for the claim. 238

Nevertheless, the courts determined the administrator complied with ERISA by ensuring the

opinion of another unrelated and qualified medical reviewer provided the basis for denying the

second appeal, thereby curing the procedural irregularity. 239

           While it is unclear exactly what ERISA requires in these circumstances, based on this

case law, SelectHealth’s failure to consult an unrelated, qualified reviewer for the second-level

appeal on the First Stay denied Doe a fair and full review. Dr. Scott Whittle, a board-certified

psychiatrist, reviewed and denied Doe’s first-level appeal for the First Stay. 240 Doe’s second-

level appeal was then reviewed by “a committee consisting of a SelectHealth medical director

who is board certified in family medicine, a manager in Pharmacy Services who is a licensed

pharmacist, a manager in Product Development, and a consumer representative.” 241 The


235
    See Wintermute, 524 F. Supp.2d at 963 (“While ClaimSource did rely on Drs. Randolph and Stevens during the
initial and appellate reviews, it also consulted with new physicians in the appeal process[.]”); Crosby v. Blue
Cross/Blue Shield of La., No. CIV.A. 08-693, 2012 WL 5493761, at *8 (E.D. La. Nov. 13, 2012) (evaluating
whether use of the same doctor “‘effectively’ gave deference to the First Level Appeal determination”); Hoffman v.
Screen Actors Guild Producers Pension Plan, 757 F. App'x 602, 612 n.9 (9th Cir. 2019) (“[N]othing in ERISA
prohibits the Plan from also relying on the previous doctor’s opinion, provided that the Plan also considers the
opinion of a new, qualified medical professional.”).
236
      Hoffman, 757 F. App’x at 612 n.9.
237
   See Dardick v. Unum Life Ins. Co. of Am., 739 F. App’x 481, 488 (10th Cir. 2018); Chatterron v. IHC Health
Plans, Inc., No. 2:05-cv-130 TC, 2006 WL 1073466, at *15 (D. Utah Apr. 20, 2006).
238
      Dardick, 739 F. App’x at 484; Chatterron, 2006 WL 1073466 at *15.
239
      Dardick, 739 F. App’x at 488; Chatterron, 2006 WL 1073466 at *15.
240
      Ex. 44 at IHC 571–72; see also Dkt. 221-1, Ex. 40 at IHC 2098–99.
241
      Ex.43 at IHC 574–75.


                                                         30
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committee consulted with Dr. Whittle before denying the appeal. 242 Thus, not only was Dr.

Whittle consulted for both the first- and second-level appeals for the First Stay, he was the only

healthcare professional with the proper qualifications to evaluate Doe’s claim on both appeals. 243

And a review of the committee notes shows the committee relied heavily on Dr. Whittle’s

opinion to deny the claim. 244 Unlike the Utah and Tenth Circuit cases cited, there was no other

doctor on the panel qualified to opine on Doe’s records and cure the procedural irregularity

arising from exclusive reliance on the same doctor for both decisions. 245 The court finds a

serious procedural irregularity on this basis.

                             c. Information Concerning Appeal Procedures

           Finally, a full and fair review “requires administrators to provide plan participants with

the opportunity to submit additional documents [and] make sure participants have reasonable

access to information relevant to their claim.” 246 To that end, participants must be notified “in a

manner calculated to be understood by the claimant” of “any voluntary appeal procedures

offered by the plan” and their right to bring an action under ERISA. 247




242
      Ex.45 at IHC 577–78.
243
      See 29 C.F.R. § 2560.503-1(h)(3)(iii).
244
      Ex.45 at IHC 577–80.
245
    See Lafleur, 563 F.3d at 157 (“While the same doctor can participate in (rather than conduct) both administrative
appeals, exclusive reliance on the opinion of the same doctor in both appeals runs afoul of § 2560.503-1(h)(3)(ii).”);
Dardick, 739 F. App’x at 488 (“Moreover, even if having Ms. Grover review the file twice was irregular, we agree
with the district court that having Dr. Bartlett also review the medical evidence for the second appeal cured any
irregularity.”); Chatterron, 2006 WL 1073466 at *15 (finding an administrator substantially complied with ERISA
because, even though the same doctor consulted in both appeals, it was not his opinion that was the basis for the
second denial but another unrelated and qualified medical reviewer).
246
      M.S. v. Premera, 553 F. Supp. 3d 1000, 1023 (D. Utah 2021).
247
      29 C.F.R. § 2560.503-1(j)(4)(i).


                                                         31
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           Plaintiff argues, and Defendants do not deny, that the denial letters misinformed Doe of

her appeal rights. 248 The denial letters for both first-level appeals stated, “the Plan allows you to

request a second review of this appeal. . . . This second level mandatory review is required by the

Plan before you may pursue judicial review.” 249 The Plan did not in fact require a claimant to file

a second appeal before seeking judicial review. 250 However, Defendants argue Plaintiff suffered

no prejudice from this error because the statute of limitations did not expire, nor was her claim

rejected for failure to exhaust. 251 In Reply, Plaintiff asserts Doe “only filed the second-level

appeals” due to the miscommunication. 252

           The court agrees Defendants’ miscommunication constitutes a procedural irregularity but

concludes it does not rise to the level of a “serious procedural irregularity.” Even though the

letters confused the appeals procedure, the Plan documents were accurate. 253 And although the

information in the denial letters was internally inconsistent—first stating the second appeal was

permissive and later stating it was mandatory—ultimately, Doe was informed of a right to appeal

and her right to judicial review. 254 If Doe was confused concerning the second-level appeals, she

could clear up the miscommunication by referring to the Plan or calling the informational




248
      MSJ at 24; Response at 64.
249
      Ex. 44 at IHC 572; Ex. 42 at IHC 565.
250
      Ex. 1 at IHC 87–89.
251
      Response at 64.
252
      Reply MSJ at 8.
253
      Compare Ex. 44 at IHC 572, and Ex. 42 at IHC 565, with Ex. 1 at 87–89.
254
      See Ex. 44 at IHC 572; Ex. 42 at IHC 565.


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number provided in the denial letters. 255 As for prejudice, the court declines to apply this here

given Defendants cite no case law analyzing prejudice in this context. 256

           Altogether, Plaintiff was denied a full and fair review due to serious procedural

irregularities. Doe did receive notice and an opportunity to respond and was informed of her

right to appeal the denial, but she did not receive an unbiased, impartial review by an unrelated

and qualified medical professional.

                      3. Reasonable Consideration of All Submitted Documentation

           ERISA regulations contemplate “meaningful dialogue” between plan administrators and

claimants during the claim process. 257 One means to accomplishing this is by providing

claimants with “a review that takes into account all comments, documents, records, and other

information submitted by the claimant.” 258 Plaintiff argues Selecthealth violated this provision

because its second-letter denials failed to address documents submitted on appeal highlighting

why facilities in Utah were unsuitable for Doe’s diagnosis and “instead continu[ed] to assert that

in-state treatment” facilities would be appropriate. 259

           But ERISA does not require an administrator “to explicitly discuss” or “affirmatively

respond” to the evidence submitted by the claimant.” 260 All the regulations require are for the

administrator to take into account the submitted materials. 261



255
      Ex. 44 at IHC 572; Ex. 42 at IHC 565.
256
      Response at 64.
257
      Gilbertson, 328 F.3d at 635.
258
      29 C.F.R. § 2560.503-1(h)(2)(iv).
259
      MSJ at 24–25.
260
   Ian C. v. United Healthcare Ins. Co., No.2:19-cv-474, 2022 WL 3279860, at *7 (D. Utah Aug. 11, 2022); Mary
D. v. Anthem Blue Cross Blue Shield, 778 F. App'x 580, 589 (10th Cir. 2019).
261
      See 29 C.F.R. § 2560.503-1(h)(2)(iv); Mary D., 778 F. App’x at 589.


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           All indications here show SelectHealth accounted for the submitted materials when

reviewing Doe’s second appeal. Both times, the committee reviewed the submitted appeal and

the medical records in making a determination. 262 For the First Stay, the committee also spoke

with Doe and two Austen Riggs doctors concerning the appeal. 263 And internal emails show at

least one committee member explicitly stated she “read through all of the documentation.” 264

Plaintiff’s claim that SelectHealth continued to assert in-state treatment would be appropriate is

perplexing. 265 Both final adverse determinations denied the claim solely based on medical

necessity and make no mention of forgoing treatment at Austen Riggs in favor of in-state

facilities. 266 In sum, there is no evidence to suggest SelectHealth failed to account for the

submitted appeal materials. The court therefore declines to find a serious procedural irregularity

on this basis. 267

           In review, Defendants violated their ERISA obligations by failing to identify Plan terms

that formed the basis for the denial and failing to provide an unrelated, qualified medical

reviewer on second-level appeals. These procedural irregularities did not substantially comply

with ERISA. The irregularities were not inconsequential, they fairly interrupted the process,




262
      Ex. 43 at IHC 574; see Ex. 48 at IHC 567–68.
263
      Ex. 43 at IHC 574; see Ex. 45 at IHC 577–79.
264
      Ex. 45 at IHC 580.
265
      MSJ at 25.
266
      Ex. 43 at IHC 574; see Ex. 48 at IHC 567–68.
267
   During the pendency of this Motion, the Tenth Circuit issued two opinions addressing ERISA claims. See D.K.
v. United Behavior Health, 67 F.4th 1224 (10th Cir. 2023); David P. v. United Healthcare, --- F.4th ----, 2023 WL
5209748 (10th Cir. 2023). Neither party filed a notice of supplemental authority to incorporate these cases into their
arguments. In both cases, the Tenth Circuit interprets the same regulation at issue here but in a slightly different
context—looking at the fulness of an administrator’s explanation in denying a claim, as compared to this case which
asks whether the administrator considered submission materials during administrative appeal. Compare D.K., 67
F.4th at 1240–42, and David P., 2023 WL 5209748 at *13, with MSJ at 24–25. Because Plaintiff raises a different
argument and did not cite either of these cases as supplemental authority, the court declines to address them here.

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denying Doe an “on-going, good-faith exchange of information.” 268 For that reason, the court

concludes Doe is entitled to de novo review on her claim for denial of benefits.

                     B. DENIAL OF BENEFITS

            Under a de novo standard, the court accords no deference to SelectHealth’s denial of

benefits. 269 Instead, it independently reviews “the facts and opinions in the administrative

record” to determine whether SelectHealth made a correct benefits decision based on the

rationales articulated in the record. 270 The claimant’s award of benefits becomes an independent

decision made by the court considering the same evidence evaluated by the administrator. 271

Thus, any arguments concerning the administrator’s reliance on non-plan terms or improper

criteria have no bearing on the court’s analysis. 272 Rather, the question is whether, under the

plan, “the plaintiff’s claim for benefits is supported by a preponderance of the evidence.” 273 The

plaintiff bears the burden of proving entitlement to benefits. 274

            This “distinct standard of review” is applied to the denial of benefits alongside the

overarching summary judgment standard governing the Motion. Namely, whether Plaintiff

shows “(1) the absence of a genuine issue of material fact and (2) an entitlement to judgment as a




268
      LaAsmar, 605 F.3d at 800 (internal citation and quotations omitted).
269
      See, e.g., Niles v. Am. Airlines, Inc., 269 F. App’x 827, 832 (10th Cir. 2008).
270
   Dewsnup v. Unum Life Ins. Co. of Am., No. 2:17-cv-00126-TC, 2018 WL 6478886, at *7 (D. Utah Dec. 10,
2018) (quoting Richards v. Hewlett-Packard Corp., 592 F.3d 232, 239 (1st Cir. 2010)); Flinders v. Workforce
Stabilization Plan of Phillips Petroleum Co., 491 F.3d 1180, 1190 (10th Cir. 2007).
271
      David P. v. United Healthcare Ins. Co., 564 F. Supp. 3d 1100, 1123 (D. Utah 2021).
  Christine S. v. Blue Cross Blue Shield of N.M., No. 2:18-cv-00874-JNP-DBP, 2021 WL 4805136, at *4 (D. Utah
272

Oct. 14, 2021).
273
   L.C. v. Blue Cross & Blue Shield of Tex., No. 221-cv-00319-DBB-JCB, 2023 WL 1930227, at *12 (D. Utah Feb.
10, 2023).
274
      Rasenack, 585 F.3d at 1324.


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matter of law,” drawing all inferences and viewing the facts in a light most favorable to

Defendants. 275 The court must “apply this dual burden” in evaluating the denial of benefits. 276

            Here, before the court can evaluate whether Plaintiff established an entitlement to

benefits, two preliminary determinations must be made. First, the court must determine what

rationales SelectHealth used in denying benefits. And second the court must determine what

properly constitutes Plan criteria for coverage. The court will address those questions before

turning to Doe’s entitlement to benefits. 277

                     1. Rationales for Denial 278

            On de novo review, “the federal courts will consider only those rationales that were

specifically articulated in the administrative record as a basis for denying a claim.” 279 A rationale

must be “written in a manner calculated to be understood by the participant.” 280 Plaintiff

concedes one rationale used for denying Doe’s claim was Policy 475. 281 But Plaintiff contends

SelectHealth cannot rely on medical necessity or InterQual criteria as rationales for denying the

claim. The court disagrees, as explained below.



275
      Lyn M. v. Premera Blue Cross, 966 F.3d 1061, 1064–65 (10th Cir. 2020).
276
      Id. at 1065.
277
   Plaintiff frames her arguments in terms of arbitrary and capricious review. See MSJ at 26–30; see also MSJ at 26
n.3. Since this is de novo review, the court addresses these arguments under a different framework.
278
   Plaintiff consolidates the denial rationales for the two stays, essentially treating the decisions to deny benefits for
the two stays as one. See generally MSJ at 25–30; Reply MSJ at 9–21. While there may be a basis to evaluate
coverage for each stay on its own terms—reviewing the denials and health records independently—Plaintiff does not
make such a request. Thus, the court considers the two stays and denial decisions as one collective decision. See
Gielissen v. Reliance Standard Life Ins. Co., No. 21-1377, 2022 WL 5303482 n.5 (10th Cir. Oct. 7, 2022)
(dismissing potential argument to address two benefits decisions separately because claimant chose “to treat the two
decisions together” and offered no argument that they could be independently assessed, thus any such argument was
forfeited and the court took her argument “as presented”).
279
    Spradley v. Owens-Illinois Hourly Employees Welfare Ben. Plan, 686 F.3d 1135, 1140 (10th Cir. 2012) (internal
citation omitted).
280
      Lynn R. v. ValueOptions, No.2:15-cv-00362-RJS-PMW, 2017 WL 3610477, at *5 (D. Utah Aug. 22, 2017).
281
      MSJ at 26.


                                                           36
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                             a. Medical Necessity

           First, Plaintiff acknowledges SelectHealth raised lack of medical necessity as a basis for

denying Doe’s claims but argues it was an “impermissibl[e] . . . new rationale” and was included

without citing the actual definition and its criteria. 282 The court concludes the letters specifically

articulated medical necessity as a basis for denial.

           All four appeal denial letters state coverage is denied based on medical necessity and

quote the Plan provision explaining the administrator’s ability to evaluate medical necessity. 283

The letters further indicate medical records show Doe did “not meet criteria” to show “medical

need” for residential level of care. 284 Then, the letters list reasons supporting this conclusion:

lack of progress, lack of treatment plan for improvement. 285 Admittedly, there are some

deficiencies. None of the initial denials of benefits reference medical necessity. 286 And none of

the letters define medical necessity or directly link the reasons for denial as medical necessity

criteria. Nevertheless, the letters can “reasonably be interpreted as denying coverage” based on

medical necessity. 287 Thus, medical necessity is one rationale specifically articulated in the

administrative record and which the court must consider in its benefits determination.




282
      MSJ at 27.
283
      Ex. 44 at IHC 571; Ex. 43 at IHC 574; Ex. 42 at IHC 564; Ex. 48 at IHC 567.
284
      Ex. 44 at IHC 571; Ex. 43 at IHC 574; Ex. 42 at IHC 564; Ex. 48 at IHC 567.
285
      Ex. 44 at IHC 571; Ex. 43 at IHC 574; Ex. 42 at IHC 564; Ex. 48 at IHC 567.
286
      Ex. 27 at IHC 670; Ex. 37 at IHC 697; Ex. 36 at IHC 710.
287
    See Spradley, 686 F.3d at 1141 (declining to accept a late-offered rationale for denial because the administrator’s
letters could not “reasonably be interpreted as denying coverage on the basis” that the administrator relied upon in
litigation).


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                             b. InterQual

            Second, Plaintiff argues Defendants’ reliance on InterQual criteria in evaluating

entitlement to benefits is an “improper rationale.” 288 Plaintiff claims InterQual cannot be used to

adjudicate Doe’s claim because Doe could not have known her claim was being denied under

InterQual. 289 Plaintiff correctly points out the denial letters only mention Policy 475, not Policy

582. 290 While Policy 582 is not referenced, the preauthorization denial for the First Stay

explicitly cites InterQual criteria and explains its application. 291 This citation was clear enough

to notify Doe that InterQual is one basis for denying coverage. For this reason, the court also

considers InterQual as one rationale relied upon by SelectHealth to be reviewed in the benefits

decision here.

                    2. Plan Terms

            The plan language is key to evaluating an ERISA claim for benefits. Plan documents

must be written so a beneficiary may “determine exactly what his rights and obligations are

under the plan.” 292 The administrator may not impose “new conditions that do not appear on the

face of a plan.” 293 Courts have recognized an administrator may establish and rely on internal

procedures or policies properly incorporated into the plan. 294 Internal policies can be

incorporated into a plan if plan documents expressly authorize the administrator to use its own


288
      Reply MSJ at 12–13.
289
      Id. at 14.
290
      Id.
291
      Ex. 27 at IHC 670.
292
      Cirulis v. UNUM Corp., 321 F.3d 1010, 1013 (10th Cir. 2013) (internal citation and quotation omitted).
293
      Id.
294
   Weiss v. Banner Health, 416 F. Supp. 3d 1178, 1186 (D. Colo. 2019), aff'd, 846 F. App'x 636 (10th Cir. 2021)
(collecting cases); see also Foster v. PPG Indus., Inc., No. 06-cv-423-GKF-TLW, 2010 WL 3432249, at *3 (N.D.
Okla. Aug. 31, 2010), aff'd, 693 F.3d 1226 (10th Cir. 2012).


                                                           38
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criteria for determining eligibility.295 Nevertheless, an administrator may only rely on internal

policies that reasonably interpret the plan, as compared to policies that are substantially

inconsistent or in contravention of the plan’s plain language. 296 This is central to ERISA’s

mandate that “plans be written so as to provide employees with notice of their rights and

obligations under the plan.” 297

            When interpreting the plan language on de novo review, “[g]eneral principles of contract

law apply.” 298 “Courts review ERISA claims as they would any other contract claim by looking

to the terms of the plan and other evidence of the parties’ intent.” 299 The court “considers the

plan documents as a whole,” interpreting words according to their “common and ordinary

meaning.” 300 Unambiguous terms are applied as written. 301 If plan terms are ambiguous—the

meaning is uncertain or reasonably susceptible to multiple interpretations—the terms are

construed against the insurer. 302

            Plaintiff raises two arguments concerning interpretation of Plan terms for coverage. First,

Plaintiff argues the Plan does not and cannot include Policy 475 as a criterion for determining




  See Jones v. Kodak Med. Assistance Plan, 169 F.3d 1287, 1292 (10th Cir. 1999); see also Lynn R., 2017 WL
295

3610477, at *8–9.
296
    Mac v. Blue Cross Blue Shield of Mich., No. 16-cv-13532, 2017 WL 2450290, at *5–9 (E.D. Mich. June 6,
2017).
297
      Cirulis, 321 F.3d at 1013.
298
   Robert O v. Harvard Pilgrim Health Care, Inc., No. 2:17-cv-1251-TC, 2019 WL 3358706, at *7–8 (D. Utah July
25, 2019) (citing Salisbury v. Hartford Life & Acc. Co., 583 F.3d 1245, 1247 (10th Cir. 2009)).
299
    Cardoza v. United of Omaha Life Ins. Co., 708 F.3d 1196, 1203 (10th Cir. 2013) (internal citation and quotation
marks omitted).
  Carlile v. Reliance Standard Life Ins. Co., 988 F.3d 1217, 1223 (10th Cir. 2021) (internal citation and quotation
300

marks omitted).
301
      Id.
302
      Id.


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coverage. 303 Next, Plaintiff argues the Plan’s medical necessity provision cannot be interpreted

to include InterQual criteria. 304 As explained below, both arguments fail.

                             a. Policy 475

            Plaintiff argues Policy 475 is not a Plan term and cannot be incorporated into the Plan

because it conflicts with the Plan by adding a geographic restriction on coverage. In response,

Defendants argue the Plan expressly authorizes SelectHealth to determine eligibility according to

its own criteria and Policy 475 is a policy developed under that authority. 305 Defendants further

argue the proximity criteria found in Policy 475 is consistent with Plan language. The court

agrees with Defendants.

            First, the plain language of the Plan incorporates Policy 475 criteria into the medical

necessity determination for coverage. The Plan states “SelectHealth has developed medical

policies to serve as guidelines for coverage decisions. These guidelines detail when certain

Services are considered Medically Necessary.” 306 The Plan then explains the “medical policies

are based on constantly changing science” and provides a telephone number for participants to

obtain more information. 307 Policy 475 then references this language from the Plan before setting

forth SelectHealth criteria for coverage at a residential treatment center. 308

            Plaintiff argues Policy 475 is “indisputably not a Plan term” and improper under Cirulis

v. Unum Corp. because it imposes new conditions not found within the Plan. 309 But this is not


303
      MSJ at 26–27.
304
      Reply MSJ at 12–15.
305
      Response at 67–68.
306
      Ex. 1 at IHC 84.
307
      Id.
308
      Policy 475 at IHC 3183.
309
      MSJ at 25–26 (citing Cirulis, 321 F.3d at 1013).


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so. In Cirulis, an employee was denied coverage having “no notice that [his] benefits would be

conditioned on this provision.” 310 Here, the Plan language explicitly notified participants that

additional medical policies were used to determine medical necessity. 311 With this language, a

participant had notice that plan coverage was conditioned on additional policies such as Policy

475.

           Second, Policy 475 criteria reasonably interprets and is consistent with the Plan. As

relevant here, Policy 475 explains SelectHealth covers residential treatment only if the “center is

provided in reasonable proximity to a members[sic] community or residence and support

system.” 312 Plaintiff argues this criterion violates the Plan because it adds a geographic

component to the Plan’s definition for a residential treatment center and creates a “residential

treatment” exception for the Plan’s out-of-state coverage. These arguments focus on Plan

language in isolation. As a whole, the Plan conditions benefits on the “appropriateness of the

care setting.” 313 Medically necessary services must be “clinically appropriate in terms of type,

frequency, extent, site, and duration; and not primarily for the convenience of the patient.” 314

Policy 475 further explains, “[w]ith regard to the issue of proximity . . . , [medical] organizations

have noted that outcomes are improved when residential care is provided in close proximity to




310
      321 F.3d at 1013.
311
      Ex. 1 at IHC 84.
312
      Policy 475 at IHC 3183–84.
313
      Ex. 1 at IHC 80.
314
    Ex. 1 at IHC 95. Plaintiff argues the introduction of these Plan terms in briefing constitutes a new basis for
SelectHealth’s benefits denial that cannot be relied upon now. Reply MSJ at 10–11. But Defendants do not
introduce this Plan language as a new rationale to explain SelectHealth’s denial of Doe’s claim. See Response at
67–69. Instead, it is a response to Plaintiff’s arguments and merely used to explain how Policy 475 is consistent
with the Plan. See id. The court does not view this usage as violative of ERISA law allowing consideration of only
those “rationales asserted by the plan administrator in the administrative record.” Spradley, 686 F.3d at 1140
(internal quotation marks omitted).


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the patient’s home.” 315 Thus, rather than imposing a bare, geographic limitation, Policy 475

seeks to ensure clinically appropriate services.

            Plaintiff argues the ordinary meaning of a clinically appropriate site refers to “a facility,

not the geographic location of the facility.” 316 But “site” may identify both a geographic location

and a physical place. 317 In this context, both definitions make sense. The medical facility and its

geographic location can both have bearing on whether a site is clinically appropriate, as

explained in Policy 475. 318 Plaintiff argues this usage would be inconsistent with other Plan

language requiring “on-site” services, which she claims is an unambiguous reference to a

facility. 319 Even assuming this interpretation is correct, those references have little persuasive

value because the context and usage differs. In sum, Policy 475’s proximity criterion accords

with the Plan.

            Finally, Plaintiff argues the proximity criterion is not required by the Plan and can be

disregarded. 320 For example, SelectHealth covered the first five weeks at Austen Riggs. 321 This

argument misses the fact that the medical records relied upon for the initial determination differ

from later records. When Doe was admitted, she told intake she could not return to Utah and




315
      Policy 475 at IHC 3185.
316
      Reply MSJ at 12.
  See Site, Black’s Law Dictionary (11th ed. 2019); Site, Merriam-Webster Online, https://www.merriam-
317

webster.com/dictionary/site (last visited July 22, 2023).
318
      Policy 475 at IHC 3185.
319
      Reply MSJ at 12.
320
      Id. at 12, 18.
321
      Ex. D at IHC 684; see also Ex. 27 at IHC 670.


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there was nothing there for her. 322 The initial records indicate Doe had no support system in

Utah. 323 Throughout the following weeks, Doe’s parents showed support for her by attending

family therapy, speaking with providers, and directly pledging assistance. 324 Rather than

showing the criterion is unnecessary and can be disregarded, the facts indicate the criterion is an

essential part of determining coverage under the Plan. 325

           Thus, the “proximity” criterion does not impose an impermissible geographic limitation

and Policy 475 is properly part of the Plan for considering coverage of residential treatment.

                            b. InterQual

           Plaintiff next argues InterQual cannot be used to determine coverage because “the Plan

does not expressly refer to or incorporate InterQual criteria as a Plan term.” 326 Yet, as mentioned

above, the express language of the Plan incorporates “medical policies” for use in determining

“when certain Services are considered Medically Necessary.” 327 SelectHealth Policy 582

identifies InterQual as the defining criteria for residential mental health coverage. 328 The plain




322
   Ex. 15 at IHC 2137 (“She stated that she does not believe she can return to Utah at this point, as she imagines she
would become suicidal, given the loss of her career. She also feels that it is ‘pathetic’ that she does not have much
in her life, including a romantic relationship, family/kids, or career.” Dated 4/10/2017); see also id. at IHC 2149
(“She does not have robust family support, she is socially isolated[.]” Dated 4/14/2017); id. at IHC 2151 (therapist
notes from 4/28/2017 indicating “I have not had any contact with [Doe’s] family”).
323
      Ex. 15 at IHC 2137, 2145.
324
    Id. at IHC 2202 (explaining Doe’s plan was to return “to live with her parents in Utah upon her discharge”); 2205
(treatment notes documenting conversations with mother and stepfather); 2207 (talking to mother during casework
session and planning to call mother on bi-weekly basis); 2208 (stepfather included in patient meeting).
325
   To be clear, while Doe’s mother and stepfather were engaged and committed to supporting her treatment, the
notes are mixed on whether or not that was always helpful to Doe.

326
      Reply MSJ at 13.
327
      Ex. 1 at IHC 84.
328
      Ex. I at IHC 2940.


                                                         43
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language of the Plan through Policy 582 incorporates InterQual criteria into the medical

necessity determination for coverage.

            Plaintiff rebuts this conclusion, arguing Policy 475 does not mention InterQual when

listing its coverage criteria for Doe’s selected type of plan and it does mention InterQual for

other plans. 329 Plaintiff argues the inclusion of InterQual for other plans suggests that its

omission was intentional for Doe’s Plan. 330 Yet Policy 475 directly refers claimants to Policy

582 as a related medical policy. 331 Any inference that the omission leads to the conclusion

InterQual does not apply to Doe’s Plan is undermined by this express reference to Policy 582.

Accordingly, the InterQual criteria may be considered in determining coverage for Doe’s claim.

                    3. De Novo Review of the Claim for Benefits

            Having resolved these issues, the court now considers the denial for benefits using only

those rationales asserted by the plan administrator—namely, whether Doe met the criteria for

coverage articulated in Policy 475 and InterQual. The merits of the claim are reviewed under the

summary judgment standard alongside the applicable ERISA standard, which is de novo review

here. The court concludes there are issues of fact precluding Plaintiff from establishing by a

preponderance of the evidence that Doe’s claim for benefits is covered under the Plan.

                            a. Policy 475: Reasonable Proximity Criterion

            Plaintiff has not shown by a preponderance of evidence Doe’s treatment at Austen Riggs

was “in reasonable proximity” to her support system. There are two genuine disputes preventing

Doe from establishing this criterion. First, whether there existed facilities within Utah to provide



329
      Reply MSJ at 13–14.
330
      Id. at 13.
331
      Policy 475 at IHC 3183.


                                                    44
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services in reasonable proximity. Second, whether individuals in Utah qualified as a support

system.

           Plaintiff contends the facilities recommended by Defendants—New Roads Behavioral

Health and Center for Change—could not have provided the necessary services in reasonable

proximity. On this point, there are genuine disputes over whether Doe was the type of client

served by the facilities and whether they provided the care she needed.

           It is unclear whether Doe would qualify as the proper clientele for the recommended

facilities. Plaintiff claims New Roads serves only young adults with mental health challenges,

while Defendants assert New Roads offers mental health care to patients of all ages who are

transitioning out of residential care. 332 Record documents show New Roads’ residential program

caters to young adults aged “17.5–28” but also provides transitional mental health programs

which Defendants argue are for individuals of all ages. 333 Likewise, Plaintiff claims Center for

Change “is exclusively for patients with primary, significant eating disorders” and Doe did not

have a primary eating disorder. 334 Defendants contend Doe was diagnosed with an “Unspecified

Feeding and Eating Disorder” at Austen Riggs and was receiving treatment for it. 335 Plaintiff

points to record notes stating Doe had “trouble maintaining hydration and nutritional status, not

related to a formal eating disorder but likely associated with complex PTSD.” 336 Both parties

select treatment notes that are helpful to their argument. Records from Austen Riggs during the




332
      MSJ at 12–13; Response at 21–22.
333
      Ex. 15 at 2847–52; Response at 22.
334
      MSJ at 12–13.
335
      Response at 21.
336
      Ex. 15 at 2453.


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First Stay show constant concern surrounding Doe’s weight and over-exercise. 337 Yet there were

minimal comments about Doe’s food intake and exercise regimen during the Second Stay. The

notes show only some renewed concern near the end of her Second Stay. 338 To resolve these

issues, the court would need to weigh the evidence, make credibility determinations, and draw

inferences about conflicting facts. None of these tasks are proper on a motion for summary

judgment. 339

            Further, the parties dispute whether Doe needed residential care. 340 Defendants argue

residential care was not the most appropriate treatment setting for Doe. She stabilized after five

weeks at Austen Riggs and her condition actually deteriorated the longer she was there. 341 Then,

Doe’s condition improved during her stay at home, showing that outpatient care with family

support was the best option. 342 Plaintiff points to this deterioration as evidence that Doe needed

to remain at Austen Riggs. 343 From the record, there appear to be a number of factors

contributing to this deterioration. Among other things, it is not entirely clear how much is

attributable to Doe’s lack of participation and how much is attributable to Austen Riggs’

treatment program. Plaintiff also disputes Doe’s family could be a support by highlighting

treatment notes where Doe discusses challenges with them. 344 The court cannot on this record



337
      See id. at IHC 2149, 2155, 2156–57, 2160, 2162–64.
338
      Id. at IHC 2470–71.
339
   See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986) (“[A]t the summary judgment stage the
judge’s function is not himself to weigh the evidence and determine the truth of the matter but to determine whether
there is a genuine issue for trial.”).
340
      Response at 70–72; Reply at 21–22.
341
      Response at 70–72.
342
      Id. at 72.
343
      Reply at 21.
344
      Id.


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determine whether residential care was the proper setting because to do so requires assigning

weight to the evidence.

           More importantly, even if the court concluded none of these facilities could have

provided Doe the necessary services, Plaintiff still fails to establish Austen Riggs was “in

reasonable proximity to [Doe’s] community . . . and support system.” 345 Plaintiff contends

Austen Riggs was in reasonable proximity because Doe did not have a community or support

system in Utah. Specifically, Plaintiff asserts Doe was unemployed, lacked close friends, and

family members were alternatively highly triggering or unable to provide the necessary

support. 346 Record facts on this point are inconclusive. There is no disputing Doe was

unemployed and had certain family members that were a negative influence. 347 Still, Doe’s

mother and stepfather consistently engaged in Doe’s treatment—they participated in family

therapy, cared for Doe between Stays, and visited her at Austen Riggs. 348 After a month at home

with them, Doe returned to Austen Riggs exhibiting less suicidality, normalized eating and

exercise habits, and improved affect. 349 Treatments notes offer conflicting opinions on Doe’s

parents. At times the notes indicate Doe’s mother and stepfather were a good source of support,

most notably after her month at home with them. 350 Other times the notes explain Doe’s mother

and stepfather contributed to Doe’s stress and could not fully help her or keep her safe from self-

harm. 351 Differing conclusions may be drawn from these facts and, without impermissibly


345
      Policy 475 at IHC 3184.
346
      MSJ at 24; Reply MSJ at 20–21.
347
      Ex. 16 at IHC 1442; Ex. 15 at IHC 2137, 2445–72.
348
      Ex. 15 at IHC 2156–57, 2160, 2162–64, 2201–17; Ex. 16 at IHC 1480.
349
      Ex. 15 at IHC 2445–47, 2485, 2631.
350
      Ex. 15 at IHC 1088, 1576, 2263, 2485; Ex. 65 at IHC 1083.
351
      Ex. 15 at IHC 2117, 2155, 2578.


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weighing the evidence, the court is unable to conclude whether Doe’s mother and stepfather

qualify as a community and support system. 352 Accordingly, the court cannot on summary

judgment determine Austen Riggs was “in reasonable proximity to [Doe’s] community . . . and

support system.” 353 Because this criterion is necessary to obtaining coverage, Plaintiff cannot

establish Doe’s entitlement to benefits.

                              b. InterQual

           Plaintiff also fails to establish treatment at Austen Riggs was medically necessary under

InterQual criteria. To obtain residential mental health treatment under InterQual, a patient must:

(1) have improved to a point where discharge can be expected, (2) be improving even if not

clinically stable for discharge, or (3) worsening and requiring more intensive level of care. 354

Doe’s records are inconclusive. Treatment notes do not show Doe was improving to a point that

discharge could be expected. On a couple occasions Doe’s providers noted progress, but for the

most part there’s little record evidence showing sustained improvement. 355 The notes frequently

indicate Doe’s symptoms waxed and waned. 356 In general, she was not improving and the

therapeutic community was unhelpful, in part because Doe disengaged and isolated herself. 357

While Doe suffered from persistent suicidal ideation, aside from her hospitalization at the end of


352
    Plaintiff argues Defendants ignored certain facts and cherrypicked evidence to “ground their baseless factual
findings.” Reply MSJ at 20. But this court is not bound by the administrator’s factual findings in de novo review.
See Niles, 269 Fed. App’x at 834. Neither does the court rely on the administrator’s factual findings. See id.
Instead, the court does its own review of the record evidence. See id. Thus, any errors in this regard are immaterial
to the court’s analysis.
353
      Policy 475 at IHC 3184.
354
      Ex. H at IHC 2087–88.
355
   Compare Ex. 15 at 2457–58 (seeing “positive changes in Doe’s participation”), with id. at 2155 (noting Doe was
“minimally participative”); 2160 (noting Doe failed to participate); 2470 (noting Doe was “stubbornly opposed” to
joining groups and discussing possible move to lesser level of care).
356
      Ex. 15 at IHC 2152, 2457–58.
357
      Id. at IHC 2148, 2152, 2160, 2162–64, 2463–64, 2467–69, 2470.


                                                         48
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her First Stay, the notes do not indicate the risk was increasing and Doe needed more intensive

care. 358 That is not to say Doe’s mental health struggles were not severe. But to qualify for

coverage under the Plan, a preponderance of the evidence must show treatment is medically

necessary. Doe’s medical records are contradictory. Altogether, they do not demonstrate by a

preponderance of the evidence that services at Austen Riggs qualified as medically necessary

under InterQual.

            Plaintiff’s arguments fail to undermine this conclusion. Plaintiff claims SelectHealth

made several errors when applying InterQual: it used the wrong InterQual guidelines, 359 and it

conceded medical necessity was met. 360 But “because the court’s review is de novo, any

incorrect reliance” or concessions made by the administrator do not affect the analysis. 361 The

court evaluates only whether, after examining all the evidence, Doe’s claim to benefits is

supported by a preponderance of the evidence. 362

            Plaintiff also argues Defendants’ medical necessity determination was “patently

unreasonable in light of external standards.” 363 According to Plaintiff, Doe satisfied medical

necessity criteria under the LOCUS standard, a different evaluation standard “used extensively in

26 states and internationally.” 364 The implication being LOCUS is a better tool than InterQual.

Defendants’ use of InterQual is “a matter of Plan design and structure, rather than




358
      Id. at IHC 2141, 2149, 2160, 2162–64, 2231–42.
359
      Reply MSJ at 14–15.
360
      Id. at 29.
361
      Christine S., 2021 WL 4805136, at *4 n.1 (internal quotation and citation omitted).
362
      Niles, 269 Fed. App’x at 834.
363
      MSJ at 30.
364
      Id.


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implementation.” 365 And an administrator’s decisions setting plan terms are “not subject to

ERISA’s fiduciary standards and judicial review.” 366

            Lastly, Plaintiff makes a policy argument, claiming Defendants’ denials “were

antithetical to the purposes of the Plan.” 367 However, Plaintiff cites no legal authority or basis for

evaluating policy concerns when deciding a claim for coverage. 368 The court considers this

argument no further. 369

            Plaintiff has not met her burden on summary judgment. Record evidence is inconsistent.

It does not indisputably show by a preponderance of the evidence that Austen Riggs was in

reasonable proximity to Doe’s support network or that Doe met InterQual criteria for medical

necessity. Thus, the court denies summary judgment on Plaintiff’s claim for benefits.

                              II.      PARITY ACT (Claims Two and Three)

            Plaintiff next moves for summary judgment on claims two and three, seeking equitable

and injunctive relief for violations of the Parity Act. The Parity Act was designed to end

discrimination in mental health care coverage by ensuring the restrictions imposed on mental




365
      Jones, 169 F.3d at 1291–92.
366
    Averhart v. US WEST Mgmt. Pension Plan, 46 F.3d 1480, 1488–89 (10th Cir. 1994) (An employer is free to
develop an employee benefit plan as it wishes[.]” (internal citation and quotations omitted)).
367
      MSJ at 30.
368
      See id.
369
    In the context of challenging Defendants’ medical necessity decision, Plaintiff also argues “Defendants’ denial
was not the result of a principled process.” MSJ at 29. Plaintiff then highlights alleged procedural errors made by
Defendants during the benefits determination. See id. While an administrator’s procedural errors can provide a
basis for reversal separate from a claim on the merits, see Niles, 296 Fed. App’x at 833, the court does not interpret
Plaintiff’s argument as a separate claim for relief. These procedural-based arguments were presented within
Plaintiff’s section targeting the merits of the denial of the claim rather than as a separate basis for reversal. See MSJ
at 25–30, 29; see also Niles, 296 Fed. App’x at 833 (“Ms Niles sought reversal both on procedural grounds and on
the merits. . . . These procedurally-based arguments were presented separately from her argument targeting the
merits of the [administrator’s] determination.”). Thus, the court declines to consider these arguments as a separate
basis for relief.


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health services are comparable to those for analogous medical/surgical services. 370 A provider

offering both mental health and medical/surgical benefits violates the Parity Act by imposing

more restrictive treatment limitations on mental health benefits than those placed on analogous

medical/surgical benefits or imposing separate treatment limitations applicable only to mental

health benefits. 371

           Treatment limitations include both quantitative (numerical caps on services) and

nonquantitative (affecting scope or duration of services) limitations. 372 Parity Act regulations

provide that, “as written and in operation, any processes, strategies, evidentiary standards, or

other factors” used in applying nonquantitative treatment limitations on mental health benefits

must be “comparable to, and applied no more stringently” than those used for medical/surgical

benefits in the same classification.” 373 Thus, Parity Act violations may be alleged facially, based

on express plan terms, or as-applied, based on application of plan terms. 374

           To state a Parity Act violation, a plaintiff must show 375:

           (1) the relevant group health plan is subject to the Parity Act; (2) the plan
           provides both medical/surgical benefits and mental health or substance use

370
   29 C.F.R. § 2590.712(c)(2)(i); Am. Psychiatric Ass’n v. Anthem Health Plans, Inc., 821 F.3d 352, 356 (2d Cir.
2016) (“Congress enacted the [Parity Act] to end discrimination in the provision of insurance coverage for mental
health and substance use disorders as compared to coverage for medical and surgical conditions in employer-
sponsored group health plans.”).
371
      29 U.S.C. § 1158a(a)(3)(ii); 29 C.F.R. § 2590.712(c)(2)(i).
372
   29 C.F.R. § 2590.712(a); see David S. v. United Healthcare Ins. Co., No. 2:18-cv-803, 2019 WL 4393341, at *3
(D. Utah Sept. 13, 2019).
373
      29 C.F.R. § 2590.712(c)(4)(i).
374
   Jeff N. v. United HealthCare Ins. Co., No. 2:18-cv-00710-DN-CMR, 2019 WL 4736920, at *3–4 (D. Utah Sept.
27, 2019).
375
   The Tenth Circuit has not spoken on what is required to state a Parity Act claim. Johnathan Z. v. Oxford Health
Plans, No. 2:18-CV-383-JNP-PMQ, 2020 WL 607896, at *13 (D. Utah Feb. 7, 2020). Courts in this district have
promulgated two tests to analyze such claims—a three-part and four-part inquiry. Nathan W. v. Anthem Bluecross
Blueshield of Wisc., No. 2:20-cv-00122-JNP-JCB, 2021 WL 842590, at *6 (D. Utah Mar. 5, 2021). The parties
apply differing tests in their briefing. MSJ at 32 (using the four-part test); Response at 75 (using the three-part test).
Because the tests are “materially indistinguishable” and neither party objects to either test, the court uses the four-
part test here. See Nathan W., 2021 WL 842590, at *6 (internal citation omitted).


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            disorder benefits; (3) the plan includes a treatment limitation for mental health or
            substance use disorder benefits that is more restrictive than medical/surgical
            benefits; and (4) the mental health or substance use disorder benefit being limited
            is in the same classification as the medical/surgical benefit to which it is being
            compared. 376

In reviewing a Parity Act claim, the court affords no deference to a benefits administrator. 377 It

examines “the plan documents as a whole” to determine whether treatment limitations violate the

Parity Act. 378

            Plaintiff alleges Defendants violated the Parity Act in two ways. First, the Plan facially

violates the Parity Act by imposing a geographic limitation (Policy 475) for mental health

services not found in the medical/surgical analogs. 379 Second, Defendants’ disparate application

of their network adequacy standards violates the Parity Act “by failing to ensure an adequate

network of residential treatment centers.” 380 The parties do not dispute the first two elements, so

the court limits its analysis to the latter two elements. 381

                      A. POLICY 475

            Plaintiff first argues the use of Policy 475 criteria for residential mental health coverage

creates a facial geographic treatment limitation. 382 Because Defendants “did not have any

documents creating geographic limitations” for comparable in-patient medical and surgical care,




376
      Michael D. v. Anthem Health Plans of Ky., Inc., 369 F. Supp. 3d 1159, 1174 (D. Utah 2019).
377
   Joseph F., 158 F. Supp. 3d at 1258 (explaining that deciding a Parity Act claim is a matter of interpreting a
statute, which is a legal question afforded no deference).
378
   Weber v. GE Grp. Life Assur. Co., 541 F.3d 1002, 1011 (10th Cir. 2008) (“[A]s the first step towards interpreting
an ERISA plan, we scrutinize the plan documents as a whole and, if unambiguous, construe them as a matter of
law.” (internal citations and quotations omitted)).
379
      MSJ at 33–34.
380
      Id. at 34–35.
381
      Id. at 32 (“[I]t is undisputed that [Doe’s] Plan satisfies the first and second elements.”).
382
      Id. at 33.


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Plaintiff argues they are in violation of the Parity Act. 383 She asserts, “by definition, the

geographic eligibility criterion for residential treatment . . . was more restrictive than for

medical/surgical benefits.” 384

            Defendants contend Plaintiff fails to meet her burden to show a Parity Act violation based

on Policy 475. 385 As an initial matter, Defendants note Plaintiff does not identify the analogous

medical/surgical classification, which they argue “is an essential element of her claim.” 386 More

importantly, Defendants argue Plaintiff’s claim fails on the merits because she does not

“demonstrate that Policy 475 lacks comparability to any criteria used to determine the medical

necessity of analogous medical services.” 387 According to Defendants, the criterion identified in

Policy 475 is one of many used for determining the medical necessity of residential mental

health care. 388 Medical necessity varies “in accordance with generally accepted standards of

medical practice . . . among other things.” 389 Defendants argue differing limitations violate the

Parity Act only when they are incomparable—the appropriate inquiry is not whether criteria for

mental health treatment are different than those for analogous medical treatment, but rather,

whether the two criteria are comparable. 390 The court agrees.




383
      Id.
384
      Id. at 34 (internal quotations omitted).
385
      Response at 78.
386
      Id.
387
      Id.
388
      Id. at 76.
389
      See id. at 76, 78.
390
      See Response at 76–78.


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            A plan facially violates the Parity Act when by its terms the plan imposes more restrictive

treatment limitations on mental health care than on medical/surgical care. 391 Plaintiff establishes

the third element of her claim by identifying what she alleges is a limitation on mental health

care that is more restrictive than medical/surgical benefits—the geographic criteria in Policy

475. 392 It is the fourth element that is lacking—identifying and comparing a medical/surgical

limitation in the same classification. 393

            When a plaintiff alleges a facially disparate mental health nonquantitative limitation, like

the one identified here, 394 a court must analyze whether “the processes, strategies, evidentiary

standards, and other factors used to apply the limitation . . . are comparable to and applied no

more stringently” than those used to determine coverage for analogous medical/surgical care. 395

Thus, “[t]o sufficiently plead a facial claim, the plaintiff must correctly identify the plan’s

express limitation and compare it to a relevant analogue.” 396 Plaintiff fails to do so here.

            Initially, Plaintiff identified no medical/surgical analogs. She generally alleged that

Policy 475 violates the Parity Act because there is no geographic requirement “for any of

[Defendants’] medical/surgical benefits during the relevant period.” 397 In a late-filed errata, this

is changed to read “for [24-hour subacute] medical/surgical benefits.” 398 Yet, even though




391
      29 U.S.C. § 1185a(a)(3)(A)(ii); see Johnathan Z., 2020 WL 607896, at 14.
392
      Michael D., 369 F. Supp. 3d at 1174; see MSJ at 33–34.
393
      Michael D., 369 F. Supp. 3d at 1174; see MSJ at 33–34.
394
      MSJ at 31 (“[T]his case involves nonquantitative treatment limitations . . . .”).
395
      29 C.F.R. § 2590.712(c)(4)(i).
396
      Jeff N., 2019 WL 4736920, at *3.
397
      MSJ at 33.
398
      Dkt. 278, Errata to Plaintiff’s Motion for Summary Judgment and Reply in Support Thereof at 2.


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Plaintiff eventually identified an arguably analogous care level, 399 she never produced the Plan’s

nonquantitative treatment limitations for 24-hour subacute medical/surgical care, nor did she

request it in discovery. 400 By failing to identify and compare the analogous care limitations, the

court is unable to determine as a matter of law whether the criteria of Policy 475 are

“comparable to, and applied no more stringently” 401 than the criteria used to determine coverage

for medical/surgical benefits in the same classification. 402

           Plaintiff’s claim also fails on the merits. She asserts Policy 475 is a bare geographic

limitation, but in briefing later acknowledges it is an eligibility criterion for coverage. 403 That

difference is key to Plaintiff’s Parity Act claim. A categorical geographic limitation—such as a

blanket plan provision excluding “coverage for inpatient, out-of-network treatment of chemical

dependency when obtained outside of the State where the policy is written”—violates the Parity

Act. 404 However, imposing different medical criteria for coverage based on the illness or ailment

“is not an impermissible disparity; it is a logical consequence of the undeniable reality that every




399
    The court assumes without deciding that 24-hour subacute care is analogous to residential treatment. Plaintiff
filed her errata after briefing was complete, denying Defendants an opportunity to respond.
400
   Response at 78; Reply at 23–24, 24 n.11 (explaining discovery requests sought “geographic limitations applicable
to any and all medical/surgical benefits”); see also Dkt. 221-13, Ex. 52 at 5 (requesting documents “showing or
describing all geographic treatment limitations on care at 24-hour subacute medical/surgical facilities”).
401
      29 U.S.C. § 1185a(a)(8)(A)(iv).
402
   Plaintiff asserts Defendants confirmed they did not have any comparable treatment limitations because they
provided none in discovery. MSJ at 33. But for a Parity Act claim, the burden is on Plaintiff to show other
limitations are incomparable. See Jeff N., 2019 WL 4736920, at *3–4.
403
    MSJ at 31 (“Defendants violated the Parity Act . . . through the geographic limitation on coverage for psychiatric
treatment . . . .”); MSJ at 34 (“[T]he geographic eligibility criterion for residential treatment for behavior health
services was ‘more restrictive’ than for medical surgical benefits.”).
404
    29 C.F.R. § 2950.712(c)(4)(iiii)(Example 10); see Johnathon Z., 2020 WL 607896, at *14–15 (“This court has
ruled that the categorical exclusion of certain types of mental health/substance abuse care is a treatment limitation
under the Parity Act.”).


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illness is inherently different and requires different treatment.” 405 “This is why the Parity Act

only requires comparability, not equality, between limitations.”406

            Policy 475 sets out “criteria for coverage” at psychiatric residential treatment centers,

including but not limited to:

                •   Psychiatric evaluation, initial within 1 business day, subsequent at least 1x/week
                •   Psychosocial assessment and substance evaluation within 48-hours
                •   Individual/group/family therapy at least 2x a week
                •   Structured therapeutic program at least 4 hours a day
                •   Residential treatment center is provided in reasonable proximity to a
                    members[sic] community or residence and support system[.] 407

The Policy includes a “summary of medical information,” citing studies and research showing

the medical bases for the criteria. 408

            In context, the provision at issue is not a blanket or categorical geographical exclusion.

Rather, it is a subjective criterion for coverage. 409 As such, it violates the Parity Act only if

Plaintiff demonstrates the “reasonable proximity” criterion is more restrictive than, or there is no

comparable criterion for, medical/surgical care. 410 Here, Plaintiff merely relies on the fact that

discovery requests produced no “geographic treatment limitations” in other policies to show the




  James C. v. Anthem Blue Cross & Blue Shield, No. 2:19-cv-38, 2021 WL 2532905, at *20 (D. Utah June 21,
405

2021), appeal dismissed (Nov. 30, 2021).
406
      Id.
407
      Policy 475 at IHC 3183–84.
408
   Id. at IHC 3184–85 (“With regard to the issue of proximity of the residential treatment in reasonable proximity to
a member’s community or residence and support system, SAMSHA and other organizations have noted that
outcomes are improved when residential care is provided in close proximity to the patient’s home.”).
409
    In her Reply, Plaintiff argues this is a “true” geographic limitation based in part on how SelectHealth applied the
criterion to Doe. Reply at 22–23 (stating the criterion limited treatment by geography as “reflected in SelectHealth’s
initial denials of [Doe’s] claims”). This argument has no bearing on this claim for a facial violation of the Parity
Act. MSJ at 33 (“Plaintiff makes a facial challenge to Defendants’ geographic limitation on mental health
treatment.”).
410
      29 U.S.C. §§ 1158a(a)(3)(A)(ii); 1158a(a)(8).


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Plan violates the Parity Act. 411 But many Policy 475 criteria may not be found in analogous

medical/surgical policies, understandably so as mental health care needs differ from

medical/surgical needs. 412 That alone does not create a Parity Act violation: showing the criteria

are “different[] is not enough.” 413 The disputed criteria must impose more restrictive or disparate

limitations on mental care than medical surgical care to run afoul the Parity Act. 414

           This is not to say a criterion such as this could not violate the Parity Act. A participant

could very well show a plan violates the Parity Act by demonstrating analogous medical/surgical

limitations do not impose comparable criteria. 415 Plaintiff does not do so here, and thus her

Parity Act claim based on Policy 475 fails.

                      B. ADEQUATE PROVIDER NETWORK

           Plaintiff next argues Defendants violated the Parity Act by failing to ensure there was an

adequate network of residential facilities to treat Doe. 416 There are genuine disputes of fact that

preclude summary judgment on this claim.

           For an as-applied Parity Act claim, a plaintiff must identify a facially neutral treatment

limitation and identify how the administrator applied the treatment limitation more restrictively




411
      MSJ at 33–34; Ex. 52 at 5.
412
   See James C., 2021 WL 2532905, at *20 (“While these standards are clearly different, they are neither disparate
nor incomparable, as they both stem from the guidelines’ rationale that the need for treatment is governed by the
severity of a patient’s illness.”).
  Id. (explaining that “different” is not enough, “the court must also look beyond the definitions to determine
413

whether the Plan imposes more restrictive” limitations).
414
      29 U.S.C. §§ 1158a(a)(3)(A)(ii); 1158a(a)(8).
415
      See, e.g., Johnathan Z., 2020 WL 607896, at *14–17.
416
      MSJ at 34–35.


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to mental health benefits than to analogous medical health benefits. 417 Here, Plaintiff identifies

facially neutral language in the introduction of the Plan, stating

           SelectHealth . . . is committed to maintaining an adequate provider network for
           each of its Qualified Health Plans. . . . An adequate provider network is
           characterized by the following four key attributes:
           The network has a sufficient number of providers in each medical specialty . . . [,]
           The providers in the network are geographically positioned to be within an
           acceptable distance of health plan members.
           The provider network accommodates special needs or preferences of health plan
           members. . . .
           The provider network is able to provide medical and behavioral health services in
           a timely manner to health plan members. 418
Plaintiff argues SelectHealth applied these adequacy standards differently for mental health

benefits than for medical benefits. 419 Essentially, Plaintiff argues the disparity in network

facilities for mental health care limited Plaintiff’s coverage. Plaintiff relies on two main facts to

support this argument, both of which are insufficient to meet the burden for summary judgment.

           First, Plaintiff claims SelectHealth’s failure to ensure an adequate network of mental

health facilities and disparate criteria is evidenced by its inability to identify any suitable in-

network or in-state options for Doe. 420 As mentioned, SelectHealth recommended two Utah

facilities for Doe—New Roads Behavioral Health and Center for Change. 421 But the parties

strongly dispute whether Doe was a candidate for services at these facilities and whether these


417
      See M.S., 553 F. Supp. 3d at 1033.
418
    Dkt. 193-5, at IHC 3193 (emphasis added). Plaintiff calls these “adequacy standards” but supplies no authority
for the proposition that aspirational language in a plan has the force and effect of a treatment limitation, as that term
is applied in ERISA law. It is not clear to the court that this kind of language can form the basis of a Parity Act
claim. Because these points are not addressed by Defendants, the court will proceed with the analysis as framed by
the parties.
419
      MSJ at 34–35.
420
      MSJ at 34.
421
      Ex. 37 at IHC 697; Ex. 36 at IHC 710.


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facilities provided the services Doe needed. 422 The record does not clearly establish these facts.

Thus, on this basis, the court cannot determine as a matter of law whether the network adequacy

standards were applied in a discriminatory manner.

            Second, Plaintiff highlights the disparity between the number of in-state, in-network

skilled nursing facilities with the number of in-state, in-network residential mental health

facilities to show the standards were unevenly applied. 423 Essentially, Plaintiff attempts to use

quantitative facts to show the network was discriminately applied to Doe. 424 But the fact that

SelectHealth operated more skilled nursing facilities than residential mental health facilities fails

to show how the network was inadequate for Doe. It may create an inference that there’s less

likelihood of adequate facilities, but it does not show there were none suitable for Doe. 425

            In conclusion, Plaintiff fails to meet her burden on summary judgment for both Parity Act

claims. She does not show Policy 475 applies disparate criteria compared to medical analogs,

nor does she point to a more restrictive treatment limitation on mental health care. Accordingly,

the court denies Plaintiff’s Parity Act claims on summary judgment.

                             III.   STATUTORY PENALTIES (Claim Four)

            Plaintiff also moves for summary judgment on her fourth cause of action seeking

statutory penalties under 29 U.S.C. § 1132(c). 426 This section grants courts discretion to award

penalties to a plan participant or beneficiary when the administrator violates its disclosure


422
      See supra Section I.B.3.a.
423
      MSJ at 34–35.
424
   Plaintiff’s argument sounds more like a challenge to a quantitative limitation, “which are expressed numerically
(such as 50 outpatient visits per year).” See David S., 2019 WL 4393341, at *3. But because these are facially
neutral terms, Plaintiff can only challenge this as a nonquantitative limitation, “which otherwise limit[s] the scope or
duration of benefits for treatment under a plan.” See id.
425
      MSJ at 34.
426
      Id. at 2, 37–38.


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obligations found in 29 U.S.C. § 1024. 427 Congress imposed these disclosure obligations to

ensure plan participants and beneficiaries were sufficiently informed about their rights under a

plan. 428

            Relevant here, § 1024 requires an administrator to “furnish a copy of the latest updated

summary, plan description, . . . or other instruments under which the plan is established or

operated” upon written request from a participant or beneficiary. 429 “To establish a violation of

this provision, a claimant must demonstrate (1) the participant submitted a written request for

information, (2) that information is within the scope of 29 U.S.C. § 1024(b)(4), and (3) the

administrator failed or refused to provide the information within 30 days after the request.” 430 A

violation of § 1024 can result in statutory penalties of up to $110 a day being imposed against the

administrator. 431

            The parties’ dispute centers on the second element, whether Plaintiff established the

requested documents must be disclosed pursuant to § 1024. It is undisputed Plaintiff submitted a

written request for certain documents on December 5, 2018. 432 Plaintiff claims Defendants are

unlawfully withholding two sets of requested documents: (1) “all instruments analyzing the

nonquantitative treatment limitations imposed by the [Plan] in 2017 and 2018,” and (2) the

administrator’s “[r]eimbursement methodologies and schedules for all out-of-network benefits



  29 U.S.C. § 1132(c)(1) (providing a plan administrator may be liable to a plan participant for penalties up to
427

$100/day for failing or refusing to supply required information within thirty days after a request).
428
   See Firestone Tire, 489 U.S. at 118; Moothart v. Bell, 21 F.3d 1499, 1503 (10th Cir. 1994) (“These sections [29
U.S.C. §§ 1024(b) and 1132(c)] were included in ERISA so that plan participants and beneficiaries would be in a
position to make informed decisions about how best to protect their rights.”).
429
      29 U.S.C. § 1024(b)(4).
430
      M.S., 553 F. Supp. 3d at 1033.
431
      29 U.S.C. § 1132(c)(1)(B); 29 C.F.R. § 2575.502c-1.
432
      Ex. 49.


                                                            60
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for 2017 and 2018.” 433 According to Plaintiff, these documents constitute “other instruments

under which the plan is established or operated” and by failing to produce them, Defendants are

subject to § 1132 penalties. 434 In response, Defendants do not dispute they have not produced

these documents, in part because the documents did not exist when Doe requested them. 435

Defendants argue Plaintiff “cannot establish that [Doe] was entitled to these documents under

ERISA, that any responsive documents were withheld, or that Intermountain’s conduct warrants

sanctions.” 436 The court agrees with Defendants on the first point and denies summary judgment

on that basis.

           Courts vary widely in interpreting § 1024’s catchall provision, requiring disclosure of

“other instruments under which the plan is established or operated.” 437 The majority of circuits

have adopted a narrow interpretation, concluding the provision includes only “formal or legal

documents under which a plan is set up or managed.” 438 At least one circuit concluded a narrow

interpretation is inapposite to the purpose of ERISA and inhibits a beneficiary’s ability to

evaluate plan rights. 439 In 2014 amendments to the Parity Act, Congress clarified the provision:

           “Instruments under which the plan is established or operated include documents
           with information on medical necessity criteria for both medical/surgical benefits,
           as well as the processes, strategies, evidentiary standards, and other factors used

  Complaint ¶ 87; MSJ at 37–38; see also Ex. 49 at 1–2 (Dec. 5, 2018 letter from Doe to IHC requesting Plan
433

documents).
434
      MSJ at 38 (quoting 29 U.S.C. § 1024(b)(4)).
435
    Response at 89–90. Defendants aver that documents analyzing nonquantitative treatment limitations did not exist
when Doe requested them. Response at 89. The requested reimbursement schedules, other than the one created for
litigation (as discussed below) do not exist at all. Response at 90.
436
      Response at 86.
437
   See M.S., 553 F. Supp. 3d at 1034–35 (explaining that the catchall provision in § 1024 “was the subject of a
circuit split”).
438
   See, e.g., Faircloth v. Lundy Packing Co., 91 F.3d 648, 653–54 (4th Cir. 1996); Williamson v. Travelport, LP,
953 F.3d 1278, 1294 (11th Cir. 2020). The Tenth Circuit has not yet interpreted this provision. See Hernandez ex
rel. Hernandez v. Prudential Ins. Co. of Am., No. 2:99-CV-898B, 2001 WL 1152835, at *4 (D. Utah Mar. 28, 2001).
439
      See Bartling v. Fruehauf Corp., 29 F.3d 1062, 1070–71 (6th Cir. 1994).


                                                          61
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           to apply a nonquantitative treatment limitation with respect to medical/surgical
           benefits and mental health or substance use disorder benefits under the plan.” 440

           Plaintiff argues this regulation “affirms that the documents requested by [Doe] constitute

plan instruments” subject to disclosure under § 1024. 441 But even taking a broad interpretation,

the requested documents do not fall within § 1024.

           It is axiomatic that a plan cannot be established or operated under a document that does

not exist. 442 Plaintiff does not assert the requested documents existed nor does she make any

showing that the plan was operated or administered under the requested documents. Neither

does Plaintiff argue ERISA imposed an obligation to create these documents and that a failure to

do so violates statutory disclosure obligations. 443 The crux of her argument is merely that

analyses of nonquantitative treatment limitations and reimbursement schedules constitute plan

documents requiring disclosure and thus Defendants’ nonproduction is subject to penalties. 444 If

these documents existed, that argument might be persuasive. But there is no need or basis to

evaluate whether hypothetical documents fall within the scope of an administrator’s disclosure

obligations under § 1024.


440
      29 C.F.R. § 2590.712(d)(3).
441
      MSJ at 38.
442
   See Bennett v. Aetna Life Ins. Co., No. 2:12-cv-139 TS, 2013 WL 4679482, at *10 (D. Utah Aug. 30, 2013)
(declining to award penalties where requested document did not exist).
443
   Defendants acknowledge that, as of February 2021, administrators are required create documentation analyzing
their nonquantitative treatment limitations. Response at 89 (citing Consol. Appropriations Act, 2021, 2021 Pub. L.
No. 116-260, Div. BB, Title II, § 203). Plaintiff concedes the obligation for analyses did not exist when Doe
requested the documents but then appears to waffle on the basis for the request of statutory penalties by asserting
Doe “also requested the [nonquantitative treatment limitations] themselves, which existed before the Parity Act was
amended to add the requirement of comparative analysis of [treatment limitations].” Reply MSJ at 32. But Plaintiff
has not asserted Defendants failed to produce the treatment limitations. And the record shows Defendants produced
nonquantitative treatment limitations for nine medical/surgical and mental health benefits. See Dkt. 39, at 3.
Moreover, throughout the case Plaintiff consistently claimed she is entitled to statutory penalties because the
administrator “has not produced any documents analyzing the Plan’s nonquantitative treatment limitations.”
Complaint at 31, 33; MSJ at 20, 38. Thus, the court declines to consider this argument.
444
      MSJ at 38; Reply MSJ at 31–32.


                                                        62
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           One requested document, a 2018 reimbursement schedule, was produced well after the

statutory deadline. 445 Plaintiff argues she is entitled to statutory penalties for this document for

the same reasons she is entitled to penalties for the other unproduced documents. 446 This

argument is similarly unpersuasive. This document was created in 2020 during litigation, long

after SelectHealth decided Doe’s claims for benefits (in 2017 and 2018). 447 Plaintiff has not

established how the Plan was “established or operated” under this document that was not in

existence at the time SelectHealth made its benefits determination. A plan administrator’s

existing reimbursement schedule may fall within the scope of § 1024. But the court has no

occasion to undertake that inquiry here, where the question is whether a plan is established and

operated under a document that did not exist at the relevant time. Plaintiff offered no arguments

to answer this question and thus she has not met her burden on summary judgment.

           For the reasons explained, the court denies Plaintiff’s Motion for Summary Judgment on

her individual claim for statutory penalties. 448

                                               IV.      RULE 56(f)

           Defendants did not move for summary judgment but requested Plaintiff’s Counts 1–4 be

dismissed under Federal Rule of Civil Procedure 56(f)(1). 449 Defendants assert summary




445
      MSJ at 38.
446
      See Id. at 38–39; Reply MSJ at 31.
447
      See Response at 38.
448
    In a footnote, Plaintiff also requests the court “declare that SelectHealth violated [Doe’s] privacy by failing to
ensure that her confidential health records would be protected.” MSJ at 39 n.8; see also Reply MSJ at 31 (same).
While there may be a legal basis for such a request, a statutory penalties claim under § 1132(c) is not the proper
vehicle. See 29 U.S.C. § 1132(c) (explaining this section allows a plan participant or beneficiary to bring a civil
action for penalties against plan administrator who fails to disclose documents falling within the scope of § 1024, the
ERISA disclosure provision). The court therefore declines this request.
449
      Response at 2.


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judgment should be entered in their favor because “Plaintiff has not met—and cannot meet—her

burden of proof on these claims.” 450 The court declines this request.

            Under Rule 56(f)(1), a court may “grant summary judgment for a nonmovant” after

giving the party “notice and a reasonable time to respond.” 451 Where notice is lacking, summary

judgment may still be granted sua sponte if the losing party would suffer no prejudice. 452 Rule

56(f) exists largely for efficiency reasons, to save courts from proceeding with trials that are

plainly unnecessary. 453 However, granting summary judgment sua sponte is generally

disfavored. 454

            Summary judgment under 56(f) is improper here. As an initial matter, requests for relief

cannot be raised in a response to a motion. 455 Additionally, while Rule 56(f)(1) gives the court a

basis to grant summary judgment, it does not enable a party to request summary judgment. 456 If

Defendants seek to obtain this affirmative relief, they must file a motion. On the merits, the

record evidence does not clearly indicate whether Doe was entitled to benefits. Reasonable

minds could draw conflicting inferences about material facts. This is not a case where trial is

plainly unnecessary. It is less clear that Plaintiff has a basis to move forward on the Parity Act




450
      Id.
451
      Fed. R. Civ. P. 56(f)(1).
452
    See Oldham v. O.K. Farms, Inc., 871 F.3d 1147, 1150 (10th Cir. 2018) (“[E]ven if such notice is lacking, we will
still affirm a grant of summary judgment if the losing party suffered no prejudice from the lack of notice.” (quoting
Johnson v. Weld Cnty, 594 F.3d 1202, 1214 (10th Cir. 2010)).
453
      10A Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2720.1 (4th ed. 2008).
454
      Oldham, 871 F.3d at 1150.
455
   DUCivR 7-1(b)(1)(A) (“No motion, including but not limited to cross-motions and motions pursuant to Fed. R.
Civ. P. 56(d), may be included in a response or reply memorandum.”); see Plumb v. Whitaker, No. 2:20-cv-00574-
TC-JCB, 2021 WL 5007751, at *2 (D. Utah Oct. 28, 2021).
456
      See Fed. R. Civ. P. 56(f)(1).


                                                         64
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and Statutory Penalties claims, but the parties can address these issues at trial or during pre-trial

proceedings.

                                            V.       CONCLUSION

           For the reasons stated, the court DENIES Plaintiff’s Motion for Summary Judgment on

Counts One Through Four 457 and DENIES Defendants’ request for summary judgment under rule

56(f). 458

           IT IS SO ORDERED.

           DATED this 21st day of August, 2023.

                                                       BY THE COURT:


                                                       ________________________________________
                                                       ROBERT J. SHELBY
                                                       United States Chief District Judge




457
      Dkt. 192.
458
    Plaintiff identifies remedies and requests the opportunity to provide additional briefing on remedies and attorney
fees. MSJ at 39–40. Because the court denies Plaintiff’s motion and neither party is awarded judgment on the
merits of the claim for coverage, it would be premature to address remedies at this time.


                                                          65
